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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


WEST PALM BEACH POLICE PENSION
FUND, derivatively on behalf of Nominal
                                          Case No.
Defendant, AMTRUST FINANCIAL
SERVICES, INC.,
                                          DEMAND FOR JURY TRIAL
                    Plaintiff,

   v.


BARRY D. ZYSKIND, GEORGE
KARFUNKEL, LEAH KARFUNKEL,
ABRAHAM GULKOWITZ, DONALD T.
DECARLO, SUSAN C. FISCH, RAUL
RIVERA, and RONALD E. PIPOLY, JR.,

                    Defendants,

- and -

AMTRUST FINANCIAL SERVICES, INC.,

                    Nominal Defendant.


              VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
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         Plaintiff West Palm Beach Police Pension Fund ("Plaintiff"), a shareholder of AmTrust


Financial Services, Inc. ("AmTrust" or the "Company"), brings this action on AmTrust's behalf


seeking relief under federal and state law for the misconduct perpetrated against the Company by


the current and former officers and directors identified below (collectively, "Defendants") arising


from the long-running, systemic and fraudulent practice of understating the Company's loss


reserves, overstating its revenue and net income, and misrepresenting its loss reserve practices


and financial results.1 Plaintiff, through its counsel, has conducted an investigation into the facts

supporting the allegations in this Complaint and believes discovery will elicit further evidentiary


support for its allegations.2

L        NATURE AND SUMMARY OF THE ACTION


         1.      This shareholder derivative action arises from Defendants' remarkable and


disturbing breach of the trust reposed in them by the Company and AmTrust's shareholders.


Since 1998, when brothers George Karfunkel ("G. Karfunkel") and Michael Karfunkel ("M.


Karfunkel") founded the Company, AmTrust has functioned as a personal piggy bank for


members of the Karfunkel family.        From at least December 12, 2013 to the present (the


"Relevant     Period"),   Defendants   knew   or       consciously   disregarded   that   AmTrust   was

manipulating its Financials through an array of complicated maneuvers that included chronic


underreserving of liabilities and inconsistent reporting of ceded losses in reinsurance agreements




l
    While AmTrust is named as a nominal defendant, any reference to "Defendants" does not
encompass the Company.


~ Plaintiffs investigation included a review of: (i) filings by AmTrust with the U.S. Securities
and Exchange Commission ("SEC"); (ii) review and analysis of press releases and other
publications disseminated by certain of the Defendants and other related non-parties; (iii) review
of news articles, shareholder communications, conference call transcripts, and postings on
AmTrust's website concerning the Company's public statements; and (iv) review of other
publicly available information concerning AmTrust and the Defendants.



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between the Karfunkels' web of family-controlled businesses. As a result of Defendants' illicit


conduct, AmTrust is now the subject of three government investigations and has been named as a


defendant in four putative securities fraud class actions. Defendants' misconduct also caused the


Company to restate nearly three years of financial results and tarnished shareholder value by


causing AmTrust to repurchase over 8 million shares at artificially inflated prices.


        2.        Questions surrounding AmTrust' s accounting and the adequacy of the Company's


reserves have been the focus of media speculation and scrutiny for years.           Indeed, various


articles published by Barron's and other news organizations have suspected accounting


irregularities and abuse of family control at AmTrust since at least 2013. These same suspicions


were reiterated to AmTrust' s Board of Directors (the "Board") in alarming detail and specificity


by Alistair Capital Management, L.L.C. ("Alistair Capital"), an investment advisory firm, in


December 2014.


       3.         On February 8, 2014, financial publication Barron's issued the first of three


scathing     articles   about   AmTrust's   accounting,   suggesting   that   management   is   using


"complicated" accounting schemes to "make the business look much better than it really is."


According to Barron's, AmTrust's management uses an intricate "web of related-party deals


with the Karfunkels" to mask insurance losses, and boosts profits by "deferring costs more


aggressively than the matching revenues."

       4.         On May 31, 2014, Barron's once again questioned AmTrust's accounting,


including the adequacy of its reserves, suggesting that AmTrust selects unusually low estimates


for its eventual losses.    Barron's explained that AmTrust paid out a higher percentage of its


original estimate for losses on accidents in the years 2006 through 2012 than its peers in the


workers' compensation insurance industry. This explains why the Company's premium revenue




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as of March 31, 2014 was more than five times tangible book value, an exorbitant rate


considering the industry average is 1.4.      Beth Malone, AmTrust's head of investor relations,


denied these accusations, stating that "AmTrust is more than adequately reserved."


        5.     Then, on December 18, 2014, Alistair Capital delivered a letter (the "Alistair


Capital Letter") to the members of the Board's Audit Committee alerting them to "numerous


instances of improper accounting and indications of material weaknesses in internal controls over


financial reporting" at the Company.         Alistair Capital, citing the aforementioned Barron's


articles and reports published by the independent research firm Off Wall Street, urged the


Board's Audit Committee to conduct an independent investigation to ensure that the Company's


financial controls were effective and that its accounting practices were in compliance with U.S.


Generally Accepted Accounting Principles ("GAAP").


        6.     The Alistair Capital Letter called into question: (i) the efficacy of AmTrust' s


internal accounting controls for financial reporting; (ii) AmTrust's accounting for deferred


acquisition costs; (iii) AmTrust's valuation of life settlement contracts; (iv) the sizable difference


between balance sheet accounts reported by AmTrust and the amounts reported by a related-


party for the corresponding accounts in its financial statements; (v) AmTrust's accounting for


Luxembourg Reinsurance Captives; and (vi) AmTrust's accounting for loss and loss adjustment


reserves in conjunction with acquisitions.


       7.      On April 23, 2016, after continued inaction and silence by AmTrust's Board,


Barron's once again questioned the adequacy of AmTrust's reserves and its accounting,


asserting that "[t]he insurance filings of its subsidiaries show that the cost of settling claims for


policies issued in the seasoned years 2007-13 have climbed hundreds of millions of dollars above


the reserves that AmTrust initially set aside."       Barron's further noted that even analysts at




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AmTrust' s investment banker, Keefe, Bruyette & Woods, Inc. ("KBW"), wondered in various


notes whether the insurer's underwriting margins were overstated. The Board not only failed to


meaningfully acknowledge the red flags raised in the Barron's articles and Alistair Capital


Letter,    but instead vehemently   attacked their credibility   and decided against proactively


investigating these potential issues.

          8.    In response to repeated questions regarding its accounting and adequacy of its


reserves, AmTrust consistently responded that its processes were rigorous and that it was more


than adequately reserved. Even worse, rather than investigating the myriad of issues outlined in


the Barron's articles, the Board unconscionably approved an increase in the Company's stock


buyback program by $200 million in April 2016 instead.        AmTrust proceeded to engage in a


massive buying spree of Company stock at tremendously inflated prices over the next four


months, purchasing nearly 5.5 million shares at a cost of $135 million from April to July 2016.


          9.    As was inevitable, on February 27, 2017, AmTrust finally disclosed a litany of


accounting issues in its fourth quarter 2016 press release, including inadequate reserves, material


weaknesses in its internal controls and the need to make adjustments to previously issued


financial statements. For Q4 2016, AmTrust reported financial results that fell well short of Wall


Street expectations in large part because of a $65 million reserve charge primarily related to


strengthening of prior-year loss and loss-adjustment reserves in its "Specialty Program" segment.


AmTrust also indicated it would be unable to timely file its annual report and that it had


identified material weaknesses in its internal controls over financial reporting that existed as of


December 31, 2016.     The internal control deficiencies relate to the Company's ineffective risk


assessment and insufficient corporate accounting and corporate financial reporting resources.


The Company not only warned that additional adjustments and/or material weaknesses could be




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identified, but disclosed a multitude of accounting errors dating back to at least 2012 pertaining


to improperly accrued bonuses, incorrect foreign exchange calculations, and wrongfully booked


revenue.



        10.    In reaction to these disclosures, AmTrust's share price plummeted $5.32 per


share, or 19%, from $27.66 per share on Friday, February 24, 2017 to $22.34 per share on


Monday, February 27, 2017—wiping out over $900 million in Company market capitalization in


one trading day.


        11.    Just weeks later, on March 16, 2017, AmTrust disclosed that it needed additional


time to complete its consolidated financial statements for fiscal year 2016.       The Company


revealed that its consolidated financial statements for fiscal years 2014 and 2015 (including for


each of the four quarters of 2015) as well as for the first three quarters of 2016 needed to be


restated and should no longer be relied upon. The Form 10-K filing delay and the restatements


largely relate to the timing of recognition of revenue.


       12.     Investors were stunned by these disclosures and AmTrust's share price was


punished anew as a result, dropping $4.03 per share, or 18.6%, from $21.61 per share on


Thursday, March 16, 2017 to $17.58 per share on Friday, March 17, 2017—wiping out over


$686 million in Company market capitalization.

       13.     On April 4, 2017, the Company filed its 2016 Annual Report on Form 10-K


which included restated financial statements for 2014 and 2015. The restated financials reduced


2014 and 2015 net income by 7.2% and 1 1.2%, respectively.


       14.     Then, on April 11, 2017, The Wall Street Journal reported that the SEC, the


Federal Bureau of Investigations ("FBI"), and the New York Department of Financial Services

("NYDFS"), are each probing AmTrust's accounting practices.       According to The Wall Street




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Journal, a former BDO USA LLP ("BDO") auditor-turned-whistleblower casually walked


around BDO's offices in 2014 striking up conversations with colleagues about BDO's audits of


AmTrust. Unknown to his colleagues, the whistleblower was recording all conversations for the


FBI.   The whistleblower claims to be in possession of documents demonstrating that AmTrust


shifted $277 million in losses to an "offshore affiliate from 2009 to 2012, bolstering AmTrust' s


operating income by that amount." Although the FBI's investigation is focused on whether BDO


tried to bury poor accounting practices in its AmTrust audits, the SEC's investigation is


ultimately centered on AmTrust' s accounting practices.


        15.    In reaction to The Wall Street Journal article, AmTrust's shares declined $3.57


per share, or 18.9%, from $18.87 per share on Monday, April 10, 2017 to $15.30 per share on


Tuesday, April 1 1, 2017.


        16.    On May 2, 2017, KBW analyst Meyer Shields emphasized that the only way


AmTrust can rebuild investor confidence is by taking a reserve charge in the hundreds of


millions of dollars and committing to improve future disclosures.     Shields noted being "very


uncomfortable" with AmTrust's reserves, and recommended that the Company increase the size


of the Board, revamp the Audit Committee, and appoint investor-facing senior executives.


        17.    In short, Defendants failed—repeatedly and brazenly—to serve the best interests


of AmTrust and its shareholders.     Despite overwhelming and specific warnings about the

Company's accounting, internal controls and related-party dealings, including a letter written


directly to the Board's Audit Committee, Defendants not only failed to properly investigate but


damaged the Company by recklessly engaging in a massive stock repurchase program at inflated


prices just months before ultimately revealing the very issues the Board was on notice about. As


a result of their misconduct, Defendants are liable to the Company under Sections 10(b), 14(a),




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20A, and/or 29(b) of the Securities Exchange Act of 1934 ("Exchange Act"), as well as for


breaches of their fiduciary duties and other violations of state and federal law.


II.      JURISDICTION AND VENUE


          18.   The claims asserted herein arise under Section 14(a) of the Exchange Act, 15


U.S.C. §78n(a)(l), and Rule I4a-9 of the Exchange Act, 17 C.F.R. § 240.14a~9.


          19.   This Court has jurisdiction over the subject matter of this action pursuant to 28


U.S.C, §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).


         20.    Venue is proper in this District because AmTrust is incorporated in this District,


Defendants have conducted business in this District, and Defendants' actions have had an effect


in this District.   In addition, pursuant to AmTrust' s Amended and Restated By-Laws, all


derivative proceedings brought on behalf of the corporation shall be litigated in a "state or


federal court located within the State of Delaware."


III.     PARTIES


         A.     Plaintiff


         21.    Plaintiff West Palm Beach Police Pension Fund is a current shareholder of


AmTrust. Plaintiff has continuously held AmTrust common stock since August 2014.


         B.     Nominal Defendant


         22.    Nominal Defendant AmTrust Financial Services, Inc. is a Delaware corporation


with its principal executive offices located at 59 Maiden Lane, 43rd Floor, New York, NY 1 0038,

AmTrust' s shares trade on the NASDAQ under the ticker symbol "AFSI."


         23.    AmTrust was founded in 1998 by brothers George and Michael Karfunkel.

Defendant Barry Zyskind ("Zyskind"), son-in-law of the late Michael Karfunkel, and members


of the Karfunkel family collectively own approximately 50% of AmTrust' s common stock.




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          24.       AmTrust, through its subsidiaries, operates through three business segments:


Small Commercial Business Insurance, Specialty Program Business Insurance, and Specialty


Risk and Extended Warranty.


          25.       The   Company's     Small   Commercial      Business     segment    provides   worker's


compensation to small businesses that operate in low and medium hazard classes, such as


restaurants, retail stores, physicians and other professional offices.


          26.      The    Company's     Specialty     Program   Business    Insurance    segment   provides


workers'        compensation, general    liability,   commercial   auto    liability, excess surplus lines


insurance programs and other specialty commercial property and casualty insurance through


managing general agents.


          27.      The Company's Specialty Risk and Extended Warranty segment provides custom


designed coverage, such as accidental damage plans and payment protection plans sold in


connection with the sale of consumer and commercial goods in the United States and Europe.


          C.       Officer Defendants


          28.      Defendant Barry D. Zyskind has served as a director on the Company's Board


since 1998 and as the Chairman of the Boar d since May 201 6.             Zyskind has also served as Chief


Executive Officer ("CEO") and President of AmTrust since 2000.                   As of March 24, 2017,


Zyskind beneficially owned 44,876,575 shares of AmTrust common stock, approximately 26.2%


of the Company's issued and outstanding shares.             Zyskind is a founding stockholder of the


Company and is son-in-law of director Leah Karfunkel ("L. Karfunkel").                  Zyskind signed the


Company's annual report, filed with the SEC on Form 10-K, each year during the Relevant


Period.        For the fiscal year ended December 31, 2015, Zyskind received $13,942,205 in


compensation from the Company, including $1,012,500 in salary, $3,000,015 in stock awards,




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$9,900,000 in non-equity incentive plan compensation, and $29,690 in other compensation. As


acknowledged by the Company, Zyskind is not an independent director under the NASDAQ


listing rules.


        29.      Defendant Ronald E.    Pipoly, Jr.   ("Pipoly")   has   served   as   Executive Vice


President and Chief Financial Officer ("CFO") of AmTrust since 2005.         As of March 24, 2017,


Pipoly beneficially owned 593,358 shares of AmTrust common stock. For the fiscal year ended


December 31, 2015, Pipoly received $3,215,181 in compensation from AmTrust.


        30.      Defendants Zyskind and Pipoly are referenced collectively in this Complaint as


the "Officer Defendants."


        D.       Director Defendants


        31.      Defendant George Karfunkel has served as a director on the Company's Board


since 1998. G. Karunkel is a founding stockholder of the Company. According to the Definitive

Proxy Statement filed on Schedule       14A with the SEC on April          11, 2017 ("2017 Proxy


Statement"), G. Karfunkel beneficially owns 32,438,408 shares of the Company's common


stock, approximately 19.0% of the Company's issued and outstanding shares.             G. Karfunkel is


the brother-in-law of Leah Karfunkel.    G. Karfunkel is not considered an independent director


under the NASDAQ listing rules.     G. Karfunkel signed the Company's annual report, filed with


the SEC on Form 1 0-K, each year during the Relevant Period.


        32.      Defendant Leah Karfunkel has served as a director since May 2016. According to


the 2017 Proxy, L. Karfunkel beneficially owns 22,252,098 shares of AmTrust common stock,


approximately 13.0% of the Company's issued and outstanding shares.               L. Karfunkel is the


sister-in-law of G. Karfunkel and the mother-in-law of Zyskind. She is also the widowed wife of




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M. Karfunkel.       L, Karfunkel is not considered an independent director under the NASDAQ


listing rules.

        33.       Defendants Zyskind, G. Karfunkel, and L. Karfunkel (together, the "Control

Group") effectively act as a controlling group of the Company, as they collectively owned


approximately 50% of the Company's outstanding shares as of March 24, 2017.             As such,


Zyskind, G. Karfunkel, and L. Karfunkel filed a Schedule 13D/A with the SEC on November 3,


2016 indicating that each was a member of a "group" for purposes of reporting beneficial


ownership under Section 1 3 of the Exchange Act.


        34.       Defendant Abraham Gulkowitz ("Gulkowitz") has served as a director on the


Company's Board since 2006. At all relevant times, Gulkowitz has served as a member and the

Chair of the Board's Audit Committee. He is also a director of several of AmTrusf s subsidiaries.


Gulkowitz signed the Company's annual report, filed with the SEC on Form 10-K, each year


during the Relevant Period.


        35.       Defendant Susan C. Fisch ("Fisch") has served as a director on the Company's


Board since 2010.      At all relevant times, Fisch has served as a member of the Board's Audit


Committee.       She also currently serves as a member on the Board's Compensation Committee


and Nominating and Corporate Governance Committee. Fisch signed the Company's annual


report, filed with the SEC on Form 10-K, each year during the Relevant Period.


        36.       Defendant Donald T. DeCarlo ("DeCarlo") has served as a director on the


Company's Board since 2006.       At all relevant times, DeCarlo has served as a member of the


Board's Audit Committee. DeCarlo signed the Company's annual report, filed with the SEC on


Form 10-K, each year during the Relevant Period.




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          37.     Defendant Ronald Rivera ("Rivera") has served as a Company director since


August 2016.


          38.     Defendants Zyskind, G. Karfunkel, L. Karfunkel, Gulkowitz, Fisch, DeCarlo, and


Rivera are collectively referred to hereinafter as the "Director Defendants."                 In addition,


Defendants Pipoly, Gulkowitz, and DeCarlo comprise the "Insider Selling Defendants."


          E.      Relevant Non-Parties


                  1.     Non-Party       Michael Karfunkel       and the   Company's     Related-Party
                         Transactions


          39.      M. Karfunkel co-founded AmTrust in 1998 and served as the Company's


Chairman of the Board from 1998 until his death in April 2016.             According to the     Definitive


Proxy Statement filed on Schedule 14A with the SEC on March 29, 2016 ("2016 Proxy


Statement"), as of March 23, 2016, M. Karfunkel beneficially owned 2,192,824 shares of


AmTrust common stock, approximately 1.3% of the Company's issued and outstanding shares.


The Company also disclosed in the 2016 Proxy Statement that M. Karfunkel was not considered


an independent director under the NASDAQ listing rules.             During the Relevant Period, and


before his death, M.       Karfunkel was involved in at least thirteen separate related-party


transactions involving AmTrust and other entities he was affiliated with or owned in part, as


outlined further herein.


          40.     According to the 2016 Proxy Statement. M. Karfunkel was also a member of the


controlling stockholder group, along with Zyskind, G. Karfunkel, and L. Karfunkel. He was the


husband of L. Karfunkel, brother to G. Karfunkel, and father-in-law to Defendant Zyskind.


                  2.     The Michael Karfunkel Family 2005 Trust


          41.     As of March 27, 2017, the Michael Karfunkel Family 2005 Trust (the "Karfunkel


Trust")    held    15,504,562   shares    of   the   Company's    common     stock,   which    represents




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approximately 9.06% of the Company's total shares of common stock.          The shares held by the


Karfiinkel Trust are beneficially owned and effectively controlled by L. Karfunkel and Zyskind.


Defendants Zyskind and L. Karfunkel are co-trustees of the Karfiinkel Trust, with the ultimate


beneficiaries of the Karfunkel Trust being M. Karfunkel's children, one of whom is married to


Defendant Zyskind.


        42.     The Karfunkel Trust is involved in several related-party transactions concerning


AmTrust, as described below.


                3.     Maiden Holdings, Ltd.


        43.     Maiden Holdings, Ltd. ("Maiden") is a publicly held Bermuda insurance holding


company that has various reinsurance and service agreements with AmTrust. Maiden was


formed by M. Karfunkel and Defendants G. Karfunkel and Zyskind. As of December 31, 2015,


Defendant G. Karfiinkel owned or controlled approximately 4.4% of the issued and outstanding


capital stock of Maiden. As of December 31, 2016, Defendants L. Karfunkel and Zyskind owned


or controlled approximately 7.9% and 7.5%, respectively, of the issued and outstanding capital


stock of Maiden. Defendant Zyskind serves as chairman of Maiden's board of directors.


       44.     Defendants Zyskind, L. Karfunkel, and G. Karfunkel are thus involved and


interested in any related-party transactions involving the Company and Maiden. For instance, in


2007, AmTrust and Maiden entered into a reinsurance agreement that required a Bermuda


subsidiary of AmTrust to retrocede an amount equal to 40% of the its premiums written for


certain lines of business (net the cost of unaffiliated inuring reinsurance) to a Bermuda subsidiary


of Maiden.    According to the 2017 Proxy, AmTrust recorded approximately $595.7 million of


ceding commission under this agreement, which is effective until June 2019.




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       45.     Additionally, there are at least four more related-party transactions involving


Maiden and AmTrust, which are referenced on pages 42-44 of the 2017 Proxy Statement, and


incorporated by reference herein.


               4.     ACP Re, Ltd.


       46.     The Karfunkcl Trust owns ACP Re, Ltd. ("ACP"), a privately held Bermuda


reinsurance holding company that operates 10 insurance companies in Bermuda and the U.S.


Defendants Zyskind and L. Karfunkel are thus involved and interested in any related-party


transactions involving the Company and ACP. In addition, AmTrust and its subsidiaries have at


least eight separate related-party transactions with ACP, which are referenced on pages 46-48 of


the 2017 Proxy Statement and are incorporated by reference herein.


              5.      National General Holdings Corp.


       47.    AmTrust has an approximately         12% ownership interest in National General


Holdings Corp. ("NGHC"). NGHC is a publicly held specialty personal lines insurance holding


company that provides a variety of insurance products, including homeowners, umbrella,


personal and commercial automobile. The two largest shareholders of NGHC are the Karfunkel


Trust and a grantor retained annuity trust controlled by L. Karfunkel.   M. Karfunkel served as


NGHC's chairman and CEO until his death in April 2016. M. Karfunkel' s son, NGHC president


Barry Karfunkel, replaced him as CEO.


       48.    Defendants Zyskind and L. Karfunkel are thus involved and interested in any


related-party transactions involving the Company and NGHC.     For instance, AmTrust, pursuant


to a master services agreement, provides NGIIC and its affiliates with information technology


services in connection with the development and licensing of a policy management system, as




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well as additional administrative services in connection with the same. In 2016, AmTrust earned


over $46 million in fees related to the master services agreement with NGHC.


       49.     Additionally, there are at least five more related-party transactions involving


NGHC and AmTrust, which are referenced on pages 44-45 of the 2017 Proxy Statement, and


incorporated by reference herein.


               6.      Other Related-Parties


       50.     AmTrust and certain other parties referenced on pages 50-51 of the 2016 Proxy


Statement, which is incorporated by reference herein, are involved in related-party transactions


concerning the leasing of corporate office space, equity investments in limited partnerships, and


the use of Company aircraft.   Some of these parties directly or indirectly include G. Karfunkel,


Zyskind, ACP, NGHC, and Maiden.


IV.    DEFENDANTS         WERE      OBLIGATED        TO   SAFEGUARD        THE     COMPANY'S
       INTERESTS AND COMPLY WITH APPLICABLE LAWS


       A.      Duties of All Defendants


       51.     By reason of their positions as officers or directors of AmTrust and because of


their ability to control the business, corporate, and financial affairs of the Company, Defendants


owed AmTrust and its shareholders the duty to exercise due care and diligence in the


management and administration of the affairs of the Company, including ensuring that AmTrust


operated in compliance with all applicable federal and state laws, rules, and regulations.


Defendants were and are required to act in furtherance of the best interests of AmTrust and its


shareholders so as to benefit all shareholders equally and not in furtherance of Defendants'


personal interest or benefit. Each director and officer owes to AmTrust and its shareholders the


fiduciary duty to exercise good faith and diligence in the administration of the affairs of the




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Company and in the use and preservation of its property and assets, and the highest obligations


of fair dealing.


        52.        Because of their positions of control and authority as directors or officers of


AmTrust, Defendants were able to and did, directly or indirectly, exercise control over the


wrongful acts detailed in this Complaint. Due to their positions with AmTrust, Defendants had


knowledge of material non-public information regarding the Company.

        53.        To discharge their duties, Defendants were required to exercise reasonable and


prudent supervision over the management, policies, practices, controls, and financial and


corporate affairs of the Company. By virtue of such duties, the officers and directors of AmTrust


were required to, among other things:


              a)   Manage, conduct, supervise, and direct the employees, businesses, and affairs of
                   AmTrust in accordance with laws, rules, and regulations, as well as the charter
                   and by-laws of AmTrust;


              b) Ensure that AmTrust did not engage in imprudent or unlawful practices and that
                   the Company complied with all applicable laws and regulations;


              c)   Remain informed as to how AmTrust was, in fact, operating, and, upon receiving
                   notice or information of imprudent or unsound practices, to take reasonable
                   corrective and preventative actions, including maintaining and implementing
                   adequate financial and operational controls;


              d)   Supervise the preparation, filing, or dissemination of any SEC filings, press
                   releases, audits, reports, or other information disseminated by AmTrust, and to
                   examine and evaluate any reports of examinations or investigations concerning
                   the practices, products, or conduct of officers of the Company;


              e)   Preserve and enhance AmTrust' s reputation as befits a public corporation;


              f)   Exercise good faith to ensure that the affairs of the Company were conducted in
                   an efficient, business-like manner so as to make it possible to provide the highest
                   quality performance of its business; and


              g) Refrain from unduly benefiting themselves and other AmTrust insiders at the
                   expense of the Company.




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        54.     Defendants also owed to AmTrust and its shareholders the duty of loyalty,


mandating that each favor AmTrust and shareholders' interests over their own while conducting


the affairs of the Company and refrain from using their positions, influence or knowledge of the


affairs of the Company to gain personal advantage.


        55.    Because of their advisory, executive, managerial, and directorial positions with


the Company, Defendants had access to adverse, non-public information about the Company.


        56.    Defendants, because of their positions of control and authority, were able to and


did, directly or indirectly, exercise control over the wrongful acts complained of herein, as well


as the contents of the various public statements issued by AmTrust.


        B,     Conspiracy, Aiding and Abetting, and Concerted Action


        57.    In committing the wrongful acts complained of herein, Defendants have pursued,


or joined in the pursuit of, a common course of conduct, and have acted in concert with and


conspired with one another in furtherance of their common plan or design.            In addition to the


wrongful conduct herein alleged as giving rise to primary liability, Defendants further aided and


abetted and/or assisted each other in breaching their respective fiduciary duties.


       58.     During all times relevant hereto, Defendants, collectively and Officerly, initiated


a course of conduct that was designed to and did: (i) conceal the fact that the Company was


manipulating its financial metrics, including loss reserves, revenue, and net income; (ii) facilitate


Defendants' violations of law, including breaches of fiduciary duty, unjust enrichment, waste of


corporate assets, gross mismanagement, abuse of control, and violations of Sections 1 0(b) and


14(a) of the Exchange Act; (iii) conceal adverse information concerning the Company's


operations, financial condition, legal compliance, future business prospects and internal controls;




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and (iv) artificially inflate the AmTrust's stock price while the Company repurchased its own


stock and the Insider Selling Defendants engaged in lucrative insider sales.


        59.     Defendants engaged in a conspiracy, common enterprise, and/or course of


conduct during the Relevant Period.       During this time, Defendants concealed the true fact that


AmTrust was misrepresenting its financial results.


        60.     Defendants accomplished their conspiracy, common enterprise, and/or common


course of conduct by reviewing, participating in, and/or allowing the Company to purposefully


or recklessly engage in an improper and illegal course of conduct. Because the actions described


herein occurred under the authority of the Board, each of the Director Defendants was a direct,


necessary, and substantial participant in the conspiracy, common enterprise and/or common


course of conduct alleged herein.


        61 .    Each of the Defendants aided and abetted and rendered substantial assistance in


the wrongs complained of herein.       In taking such actions to substantially assist the commission


of the wrongdoing alleged herein, each of the Defendants acted with knowledge of the primary

wrongdoing, substantially assisted the accomplishment of that wrongdoing, and was aware of his


or her overall contribution to and furtherance of the wrongdoing.

        C.      The Company's Code of Business Ethics


        62.     The Company's Code of Business Conduct and Ethics (the "Code of Ethics")


"applies to all AmTrust employees, officers, directors and contractors" and "sets out the values


and principles to guide all employees, directors and officers."


        63.     Specifically, with regard to "maintaining accurate books and records," the Code


of Ethics states, in pertinent part:


        We are required to maintain accurate books and records in accordance with the
        securities and accounting laws of the U.S. the countries in which our subsidiaries




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        are incorporated, as well as the countries in which we operate. These documents
        form the basis of our earning statements, financial reports and other public
        disclosures and should be maintained accurately, completely, and in a timely and
        understandable manner. In addition, they guide our Company's business actions
        and decisions.      Each of us is responsible for keeping accurate records.       In
        addition, we must comply with AmTrust's system of internal controls for
        financial reporting.

        We may never make a false representation in our Company's books or otherwise
        mischaracterize such information. This means we cannot:


              •   Intentionally distort or disguise the true nature of a transaction in
                  any accounting entries;


              •   Make a representation, whether in a document or verbally, that is
                  not fully accurate;


              •   Establish any undisclosed or unrecorded funds or assets, such as
                  "slush funds," for any purpose.


        64.       Defendants, however, violated the Company's Code of Ethics by affirmatively


adopting, implementing, and condoning a business strategy based on deliberate and widespread


violations of applicable laws.


        D.        The Board's Audit Committee


       65.        The Board's Audit Committee is currently comprised of Defendants DeCarlo


(Chair), Fisch, and Gulkowitz. According to the Audit Committee Charter, the Committee shall


provide assistance to the Board with respect to its oversight of:


              •   the accounting and financial reporting processes of AmTrust and its subsidiaries
                  and the audits of its financial statements;


              •   the independent auditor's qualifications and independence;


              •   the performance of the Company's internal audit function and independent
                  auditors; and


              •   the Company's compliance with legal and regulatory requirements.




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       66.         Moreover, the Audit Committee is responsible for preparing the audit committee


reports in the Company's annual proxy statements that, among other things, stated the Audit


Committee recommended to the Board that the audited financial statements of the Company be


included in the Annual Report on Form 1 0-K for each year during the Relevant Period.


       67.         The Audit Committee is also tasked with the obligation to oversee and monitor


the Company's compliance with laws and regulations.                  The Audit Committee Charter in effect


during the Relevant Period specifically provides that the Audit Committee "shall be directly


responsible for the compensation and oversight of the work of the independent auditor ... for the

purpose of preparing or issuing an audit report or related report."                   With respect to financial


statements and disclosure matters, the Audit Committee Charter explicitly requires the Audit


Committee to:


       a)      Discuss with management and the independent auditor significant financial
               reporting issues and judgments made in connection with the preparation of the
               Company's financial statements, including any significant changes in the
               Company's selection or application of accounting principles, any major issues
               as to the adequacy of the Company's internal controls and any special steps
               adopted in light of material control deficiencies.


       b)     Review and discuss annually reports from the independent auditors on:


              i.   All critical accounting policies and practices to be used in the audit.


             ii.   All   alternative   treatments     of financial    information     within   generally
                   accepted    accounting     principles     that     have   been      discussed   with
                   management, the ramifications of the use of such alternative disclosures
                   and treatments, and the treatment preferred by the independent auditor.


            iii.   Other material written communications between the independent auditor
                   and   management,      such   as    any   management      letter    or   schedule   of
                   unadjusted differences.


       c)     Review and discuss with management and the independent auditor any major
              issues regarding accounting principles and financial statement presentation,
              including any significant changes in the Company's selection or application of
              accounting principles, any significant financial reporting issues and judgments




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              made    in   connection    with    the   preparation   of the   Company's    financial
              statements, and the effect of regulatory and accounting initiatives as well as
              off-balance sheet structures on the Company's financial statements.


         d)   Discuss with the independent auditor the matters required to be discussed by
              Public Accounting Oversight Board ("PCAOB") Auditing Standard No. 1301
              relating to the conduct of the audit, including any difficulties encountered in
              the course of the audit work, any restrictions on the scope of activities or
              access to requested       information, and any significant disagreements with
              management.


         e)   Review disclosures made to the Audit Committee by the Company's CEO and
              CFO during their certification process for the Form 10-K and Form 10-Q
              about any significant deficiencies in the design or operation of internal control
              over   financial   reporting   or material    weaknesses     therein and    any   fraud
              involving management or other employees who have a significant role in the
              Company's internal control over financial reporting.


        f)    To consider questions of possible conflicts of interest; to review, approve and
              oversee all related party transactions as defined in applicable rules of the
              national securities exchange on which the Company's securities are listed; to
              discuss with the independent auditor significant related party transactions, and
              the auditor's evaluation of the Company's identification of, accounting for,
              and disclosure of its relationships and transactions with related parties,
              including any significant matters arising from the audit regarding the
              Company's relationships and transactions with related parties, as required by
              PCAOB Auditing Standard No. 2410; and to develop policies and procedures
              for the Committee's approval of related party transactions.


V.      DEFENDANTS               BOTH    ENCOURAGED              AND    FAILED       TO   ADDRESS       THE
        FRAUDULENT ACCOUNTING SCHEME


        68.      Throughout the Relevant Period, Defendants knew or consciously disregarded


that AmTrust was manipulating its financials through an array of complicated maneuvers that


included chronic underreserving of liabilities and inconsistent reporting of ceded losses in


reinsurance agreements between the              Karfunkel family's businesses.       Notwithstanding their


significant obligations as members of the Board or as corporate officers, and (for some


Defendants)     as   members      of committees        charged   with   overseeing   AmTrust' s   corporate




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governance and other critical aspects of the Company's business and operations, Defendants


failed to disclose the illicit accounting scheme or its significant impact on the Company.


       A.      Defendants Consciously Disregarded the Fraud


               1.      GEO Investing December 2013 Article


       69,     On December 12, 2013, GEO Investing ("GEO") published an article accusing


AmTrust of inflating earnings and net equity through the use of offshore entities.3 According to

GEO, from 2009-2012, AmTrust failed to disclose a total of $276.9 million in losses ceded to


Luxembourg subsidiaries. Moreover, GEO accused the Company of improperly valuing its life


settlement contracts "by using egregiously aggressive assumptions relative to peers despite


lawsuit documents showing [AmTrust] holds many policies which are probably worthless."


GEO estimates that using industry standard discount rates to value the life settlement contracts


would result in a $90-$ 135 million impairment.

       70.     In reaction to the GEO article, AmTrust's shares dropped $2.32, or 12%, from a


close of $19.15 on December 11, 2013 to a close of $16.83 on December 12, 2013. Defendant


Zyskind responded to GEO's allegations, affirming that the Company has "never been stronger"


and was being targeted by short sellers looking to profit from a decline in AmTrust's share price.

               2.     Barron 's February 2014 Article


       71.     On   February   8,   2014,   Barron's   published   an   article   questioning   whether


AmTrust's profits were the result of smart management or aggressive accounting.4 The article

asserted that AmTrust's bookkeeping was likely not as sound as it appeared, noting that even one



3 The GEO article was titled "AmTrust Financial Services: A House of Cards?"

4 Barron's February 8th article was titled "An Insurer's Feat: Turning Losses Into Gains" and
subtitled "Insurer AmTrust has a key earnings call on Thursday. Can it persuade investors its
profits result from smart management, and not aggressive accounting? Watch the stock,"




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of the Company's own investment bankers,              FBR   Capital   Markets, was confused about


AmTrust's accounting practices.     The concerns expressed in the article were raised after "long


interviews with AmTrust executives" left Bill Alpert, the article's author, "with questions about


some cost deferrals and reinsurance maneuvers that [other] critics highlighted."


        72.    The   article explored   AmTrust's intricate web of deals with related-parties


involving members of the Karfimkel family.        Specifically, Barron's discussed the streamlined

commissions AmTrust received from Tower Group International, NGHC, and Maiden, as well as


the Karfunkel family's ownership interest in each entity.             Because of AmTrust's various


arrangements with these related-parties, certain AmTrust critics expressed serious doubts as to

whether AmTrust's businesses were performing as well as the Company reported them to be:


"We think that they're using a grab bag of ways to make the business look much better than it


really is," says Mark Roberts, head of Off Wall Street.


        73.    Barron's illustrated one example of the Company's questionable accounting


scheme:


       Before AmTrust cedes business to outside reinsurers like Maiden, it sends
       premiums and losses to its wholly owned captive reinsurer in Bermuda called
       AmTrust International Insurance. This captive in turn sends some losses to other
       reinsurance captives that AmTrust has in Luxembourg, where tax benefits can be
       gained by charging those losses against a particular kind of reserve that's not
       available under U.S. accounting rules.


       74.     Through these "unusual" arrangements, AmTrust used the Luxembourg tax


benefits to lower the Company's reported operating expenses by roughly $28 million from 2010


through 2012, a tactic that increased its pretax profits by half a percent.         The accounting


irregularity, Barron 's noted, stems from the fact that the profits from these transactions appear in


AmTrust's financial    statements, while the Company's corresponding losses ceded to its


Luxembourg subsidiaries do not. AmTrust argued that "those losses are inflated 'artificially' or




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'synthetically' and don't reflect the real world claims on its primary insurance subsidiaries,"


Defendant Zyskind further justified this practice as "a way to draw down theses reserves," and


that "[tjhey are self-created losses within our organization, so they get completely eliminated in


consolidation."


        75.     While AmTrust contended that this arrangement is proper under U.S. and


Luxembourg accounting rules, in reality the Company is reporting "loss numbers to auditors and


insurances commissioners that it acknowledges aren't authentic."       The article also expressed


concerns with the way AmTrust calculates its profits by deferring costs more aggressively than


its matching revenues.     Barron's claimed that the corresponding accounting ratios for these


variables should be "more or less steady across time and comparable business—but in the years


following AmTrust' s IPO, its ratio of deferred acquisition costs to unearned premiums . . . has


climbed from a below-average 17% to as high as 41%."


                3.     Barron 's May 2014 Article


        76.     On May 31, 2014, Barron's published another article questioning "AmTrusfs


capital footing."5 The article, in relevant part, asserted:

       Multimillion-dollar incongruities appear in AmTrust's various securities and
       insurance filings, for example, in inconsistent loss reserves that have the effect of
       flattering earnings and capital. That's worrisome, because poorly controlled
       reserving can prove to be a snakebite to an insurer if growth slows-triggering a
       double whammy as underwriting losses demand new capital while rendering
       earnings less attractive to investors. If AmTrust's accounting is found wanting, its
       tangible book multiple could drop back to the industry average of 1 .4, bringing
       shares down below $15.

                                                 * * *




5 Barron's May 31st article was titled "Balance-Sheet Risk Makes AmTrust Shares Vulnerable"
and subtitled "Property and casualty insurer AmTrust has shone by growing faster with
seemingly better margins than rivals. But its accounting raises questions."



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        Questions about whether the company is underreserved arise because of some
        puzzling accounting disparities: AmTrust and Maiden Holdings show a $400
        million difference in their accounting for the same reinsurance activities;
        AmTrust's numbers for acquired reserves differ by $50 million in different parts
        of its financial reports; while the latest 10-K's tabulation of loss reserves leaves
        AmTrust with negative reserves for some years—an impossible accounting that
        would mean that policyholders would actually pay AmTrust millions for claims in
        those periods.


        77.     According to Barron's, AmTrust's head of investor relations, Beth Malone,


emphasized that "AmTrust is more than adequately reserved."


        78.     Barron 's also questioned AmTrust's relationship with Maiden, the publicly traded


insurer controlled by the Karfiinkel family.        The reinsurance relationship between AmTrust and


Maiden is substantial, with the Company steering 40% of its premiums and losses to Maiden.


However, AmTrust's year-end balance sheet showed approximately $1.9 billion in assets


receivable from Maiden, whereas Maiden's balance sheet showed that the liabilities due to


AmTrust were less than $1.5 billion.             According to Barron's, "[t]hat $400 million variance

seems to lie mainly in the companies' different reserve estimates for policyholder losses not yet


reported to the insurers. But such a large disagreement invites the question of whether Maiden is


understating its liabilities or AmTrust is overstating its assets."


        79.     Barron's May 31, 2014 article also accused the Company of manipulating its


financials by tunneling losses through its subsidiaries, three of which had triggered multiple


warning flags in the IRIS:


        State insurance filings of AmTrust units show that the Bermuda captive has lost
       about    $400     million   under   its    reinsurance   agreements   with   its   AmTrust
       counterparts in the last five years. The Bermuda unit's regulatory capital fell last
       year from $499 million to $416 million, a level just over two-times the minimum
       required for "solvency" under Bermuda's relatively lenient standards. By contrast,
       Maiden ended the year with more than four times Bermuda's capital requirement.




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       AmTrust's Bermuda unit is more than adequately capitalized, says Malone, and its
       numbers shouldn't be compared with those of any other reinsurer. That's because
       it reinsures only stable, predictable risks, she says.


       In its 2013 10-K, AmTrust disclosed that three of the company's U.S. subsidiaries
       have triggered four or more warning flags in the IRIS database operated by the
       National     Association   of Insurance   Commissioners.      IRIS   readings   indicate
       abnormal financial ratios at those insurers, which AmTrust attributed to its
       reinsurance structure.


       AmTrust clearly has its own ways of counting. As Barron's previously reported
       ("An Insurer's Feat: Turning Losses Into Gains," Feb. 10, 2014), AmTrust and its
       sister company National General have enhanced their operating margins by
       making more than $200 million in underwriting losses go unreported to investors.
       It did that by sending the losses to wholly-owned Luxembourg reinsurance
       companies. After our story, the AmTrust restated its past financials to remove the
       operating profit boost. Before National General's recent initial public offering, the
       Securities    and   Exchange   Commission       challenged   its   accounting   for   the
       Luxembourg transactions and National General restated its Financials, while
       admitting in its SEC correspondence that its unusual Luxembourg accounting was
       "counterintuitive." Businesses designed to lose money, like the Luxembourg
       reinsurers, had never been "contemplated by the accounting literature," the insurer
       told the SEC.


       Perhaps AmTrust and its sibling companies are just smarter than everyone else in
       the business.


       80.    In reaction to Barron's May 31, 2014 article, AmTrust's stock price dropped


$0.60 per share, or 2.81%, over the next two trading days, from $21.35 per share on Friday. May


30, 2014 to $20.75 per share on Tuesday, June 3, 2014.


              4.         The Alistair Capital Letter


       81.    On December 18, 2014, Alistair Capital sent a letter to Defendants Gulkowitz,


DeCarlo, and Fisch alerting them to "numerous instances of improper accounting and indications


of material weaknesses in internal controls over financial reporting" at AmTrust.            The letter


highlighted both of Barron's 2014 articles, as well as several reports published by the


independent research firm Off Wall Street, raising "serious questions with respect to AmTrust's


accounting practices."     In Alistair Capital's view, "management's responses to these articles




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have done little to refute the troubling assertions set forth therein.      In fact, the Company's


responses appear to corroborate the detailed and specific allegations that AmTrust's accounting


is severely flawed." Instead of refuting these allegations, AmTrust has opted to "pursue litigation


scare tactics designed to silence those who raise difficult questions about the Company's


practices." Given the "lengths to which management has gone in an attempt to silence its critics,


one has to wonder what the Company is hiding. As members of AmTrust's Board of Directors,


and specifically its Audit Committee, we believe it is your duty to find out."


        82.    The Alistair Capital Letter called into question: (i) the efficacy of AmTrust's


internal accounting controls for financial reporting; (ii) AmTrust's accounting for deferred


acquisition costs; (iii) AmTrust's valuation of life settlement contracts; (iv) the sizable difference


between balance sheet accounts reported by AmTrust and the amounts Maiden reports for the


corresponding accounts in its financial statements; (v) AmTrust's accounting for Luxembourg


Reinsurance Captives; and (vi) AmTrust's accounting for loss and loss adjustment reserves in


conjunction with acquisitions.


       83.     Alistair Capital questioned the efficacy of AmTrust's internal controls over


financial reporting for a number of reasons.     First, Alistair Capital was "concerned about the


frequent and material differences between amounts reported in AmTrust's Forms 8-K . . . and


amounts reported to the SEC in the Company's Forms 10-K and 10-Q." Second, Alistair Capital


believed that the Company's "loss reserve triangles indicate that either accident years 2008 and


2009 are woefully deficient (the reserve triangles negative remaining services) or, more likely,


AmTrust's disclosures reflect flawed data that validate [Alistair Capital's] skepticism of the


Company's reported financial statements."         Third, Alistair Capital noticed that "amounts


disclosed in AmTrust's balance sheets, cash flow statements, and purchase price allocations 'for




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Accrued Expenses and Other Liabilities' appear to be irreconcilable." Lastly, the Alistair Capital


Letter noted that, during Defendant Pipoly's tenure as CFO of Maiden, PricewaterhouseCoopers


concluded that Maiden had material weaknesses in its internal controls over financial reporting.


        84.      The   Alistair   Capital   Letter   further   highlighted   that   "AmTrust   appears   to


understate its expense ratio, and therefore overstate its net income, as a result of a mismatch in


the Company's recognition of acquisitions costs and premiums in a way that may violate U.S.


GAAP."        When questioned by Barron's about this specific issue, AmTrust's management


provided a misleading answer.


        85.      Moreover, Alistair Capital      informed the Audit Committee that AmTrust is


improperly valuing its life settlement contracts "by ignoring readily available information about


the inputs market participants use to value life settlement contracts."              AmTrust purportedly


applies a signi ficantly lower discount rate than industry peers to estimate the fair value of its life


settlement contracts, thereby overvaluing the contracts.


       86.       Another significant deficiency with respect to AmTrust's accounting, in Alistair


Capital's view, "related to the sizeable differences between balance sheet accounts reported in


AmTrust's financial statements and the amounts Maiden reports for the corresponding accounts


in its financial statement." As set forth in the chart below, there is a significant variance between


AmTrust's Reinsurance Recoverable and Maiden's Unpaid Loss and LAE Reserves:




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  Description                                                                  Amount (mm)31
     AmTrust Reinsurance Recoverable (vis-a-vis Maiden)                            S 1,144.2
     Maiden Unpaid Loss & LAE Reserves (AmTrust Q.S. Segment)                       S 796.0
  Difference in Loss & LAE Reserves Ceded (Assumed)                                 $ 348.2

    AmTrust Prepaid Reinsurance Premiums (vis-a-vis Maiden)                         $ 739.7
    Maiden Unearned Premiums (AmTrust Q.S. Segment)                                 $ 687.4
  Difference in Unearned Premiums Ceded (Assumed)                                    $ 52.4

    AmTrust Ceded Reinsurance Premiums Payable (vis-a-vis Maiden)                  $ (393.9)
    Maiden Reinsurance Balance Receivable (AmTrust Q.S. Segment)                   $ (278.6)
  Difference in Ceded Premiums Payable (Assumed)                                   $(11 5^

    AmTrust Net Assets (vis-a-vis Maiden)                                          S 1,489.9
    Maiden Net Liabilities (AmTrust Q.S. Segment)                                  S 1,204,8
  Difference in Unearned Premiums Ceded (Assumed)                                   $ 285.2


        87.     The Alistair Capital Letter accentuated that "[i]f AmTrust is over-estimating the


amount it will recover from Maiden in proportion to AmTrust's gross reserves, then AmTrust's


equity is directly over-stated by a material amount, particularly relative to tangible equity." The


Company would also be in violation of U.S. GAAP if its reinsurance recoverables and gross


reserves are inconsistent.    Alistair Capital urged the Audit Committee to investigate this


discrepancy in light of the important quota share agreement between the two companies and the


related-party nature of its relationship - Defendant Zyskind is the Chairman of Maiden's Board


of Directors.


       88.      Alistair Capital further asserted that AmTrust's accounting for loss and loss


adjustment reserves assumed in conjunction with its acquisitions was problematic given the $102


million irreconcilable difference between AmTrust's reserve reconciliation disclosure ($807.6


million) and its purchase price allocation disclosures ($705.3 million).




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 Loss & LAE Reserves Assumed in Conjunction                     Gross Loss &     Reinsurance Recoverable           Net Loss &
                                                                                                                                    Source:
 with Acquisitions                                           LAE Reserves             (Paid & Unpaid)              LAE Reserves
   Purchase Price .Allocation (*PPA*)                       S            761.3   S                      36.0   S            705.3   From Above
   Financial Stmt Comparison                                S            764.2   S                      63.S   S            700.4   From Above
   Inorganic (Acquired) per Reserve Reconciliation                                          *»                 S           S07.6    2013 Form IQ-K, Footnote 9
                                                                                            **
 Minimum Difference in Acquired Re serves                                                                      S            102.3   Calculation

   *i>Me the Reserve Reconciliation does not provide an amount for Gross Los: & HE Reserves acquired, there should be no difference aero:; methodologies.
   "Because the Reserve Reconciliation referene: unpaid losses only, II could slightly understate reinsurance recoverables. tilth that sold, even If one were to
   assume that all Reinsurance Recoverables acquired (mas: S61S million) related to losses already paid by AmTrust. one still w ould not be able to bridge the
   SI04.8 million minimum difference In .Vet Loss & HE calculated above.




                        5.              Barron's April 2016 Article


           89.          On April 23, 2016, Barron's once again challenged the adequacy of AmTrust's


reserves and its accounting, asserting that "[t]he insurance filings of its subsidiaries show that the


cost of settling claims for policies issued in the seasoned years 2007-13 have climbed hundreds


of millions of dollars above the reserves that AmTrust initially set aside."6 As such, Barron 's

explained that the Company "has had to increase substantially its estimates of the cost of settling

claims, in contrast with the decreases enjoyed by P&C insurance leaders like Chubb (CB) and


Travelers (TRY)." Barron's further noted that even analysts at AmTrust's investment banker,


KBW, wondered whether the insurer's underwriting margins were overstated.


           90.          The        article       also       reexamined                the        Luxembourg                accounting             transactions.


Specifically, the article asserted that even though the Company's insurance losses that were


ceded to AmTrust's Luxembourg "netted more than $900 million since 2008, according to


AmTrust's filings with insurance regulators, [those losses] aren't reflected in the consolidated


financials that AmTrust files" with the SEC.


          91.           In reaction to Barron's April 23 article, AmTrust's stock price dropped $1.22 per

share, or 5%, from $26.01 per share on Friday, April 22, 2016 to $24.79 per share on Monday,


April 25,2016.



6 Barron's April 23rd article was titled "Is AmTrust Stock Worth the Premium?" and subtitled
"The property & casualty insurer has grown rapidly. But questions persist about its reserve
adequacy and accounting."



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        92.      Defendants were unquestionably aware of the Barron 's articles, as the Company


publicly responded to the May 31, 2014 and April 23, 2016 articles.         In addition, AmTrust's


management provided written responses to ten questions posed by Barron 's in 20 14.7

        B.       Defendants Knowingly Issued Materially False and Misleading Statements


        93.      Throughout the    Relevant Period,   Defendants,   in   violation   of GAAP   and


AmTrust's own internal policies, failed to properly estimate its loss reserves, account for


bonuses paid, adjust foreign currency transaction gains and losses, and recognize revenue.


Instead of properly and conservatively reserving for its losses as it had repeatedly claimed,


Defendants fraudulently failed to adequately reserve for losses in its Specialty Program segment.


        94.      AmTrust's press releases, investor presentations and public filings with the SEC


included material misstatements and/or omissions concerning the Company's financial results,


which included consistently touting that it was adequately reserved. These false and misleading


statements created a false impression concerning AmTrust's business and operational status and


future growth prospects, and caused AmTrust to repurchase $227 million worth of slock at


artificially inflated prices.


                 1.      First Quarter 2014 Financial Results




7 On May 18, 2016, the Southern Investigative Reporting Foundation published a report, entitled
"Barry Zyskind's High Stakes Three Card Monte Game," that further highlighted Zyskind and
the Karfunkel family's persistent desire to navigate financial regulations for their own personal
gain.   The report stated that Zyskind, in an attempt to avoid massive tax liabilities and
simultaneously maintain his substantial ownership stake in the Company, transferred over $378
million of AmTrust stock to a purportedly phantom charitable foundation in 2016. According to
the report, a transfer of this magnitude, when taken together with the current AmTrust holdings
of other charitable foundations, would violate IRS rules and require Zyskind and the Karfunkel
family to sell over 23 million shares of AmTrust stock. The report's author contacted various
AmTrust representatives but no further investigation by the Company ensued.




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        95.     On May 1, 2014, the Company issued a press release announcing its first quarter


2014 earnings results ("Ql 2014").        The Company reported revenue of $954.0 million, an


increase of $450.1 million, or 89.3%, from $503.9 million in the first quarter 2013. Net income

came in at $99.9 million, or $1.27 per diluted share, an increase of 19.0% from $83.9 million, or


$1.08 per diluted share, in the first quarter 2013. Gross written premium was $1.67 billion, an


increase of $722.3 million, or 76.5%, from $943.9 million in the same period a year ago. The


Company also reported loss and loss expense reserves of $4.75 billion.


        96.     On May 12, 2014, the Company filed its Form 1 0-Q for Ql 2014 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously


reported financial results.

        97.     In addition, the Ql 2014 Form 10-Q (and each of AmTrust's subsequent quarterly


and annual reports filed with the SEC described herein) contained certifications signed by


Defendants Zyskind and Pipoly pursuant to §302 of the Sarbanes-Oxley Act of 2002 ("SOX")


attesting that the financial information contained in the filing was true, did not omit material


facts, and that the Company's internal and disclosure controls were effective.


        98.     For example, Defendants Zyskind and Pipoly certified in the Ql 2014 Form 10-Q


(and each of AmTrust's subsequent quarterly and annual reports filed with the SEC described


herein) that:


        [T]his report does not contain any untrue statement of a material fact or omit to
        state a material fact necessary to make the statements made, in light of the
        circumstances under which such statements were made, not misleading with
        respect to the period covered by this report.


        99.     With respect to AmTrust's reported financial information, Defendants Zyskind


and Pipoly certified in the Ql 2014 Form 10-Q that:




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        Based on my knowledge, the financial statements, and other financial information
        included in this report, fairly present in all material respects the financial
       condition, results of operations and cash flows of the registrant as of, and for, the
       periods presented in this report.


        100.   With respect to AmTrust's internal controls, Defendants Zyskind and Pipoly


certified in the Q1 2014 Form 10-Q (and each of AmTrust's subsequent quarterly and annual


reports filed with the SEC described herein) that they were personally: (i) responsible for


establishing and maintaining disclosure controls and procedures; (ii) designed or caused


AmTrust's controls or procedures to be designed to ensure that material information relating to


AmTrust and its consolidated subsidiaries was made known to them by others within those


entities; (iii) designed or caused AmTrust's controls over financial reporting to provide


reasonable assurance regarding the reliability of financial reporting and the preparation of


financial statements for external purposes in accordance with GAAP;            (iv) evaluated the


effectiveness of AmTrust's disclosure controls and procedures, and (v) presented in AmTrust's


quarterly and annual filings their conclusions about the effectiveness of the disclosure controls


and procedures.


               2.     Second Quarter 2014 Financial Results


       101.    On August 7, 2014, AmTrust issued a press release announcing its second quarter


2014 earnings results ("Q2 2014").     The Company's reported revenue was $1.01 billion, an


increase of $361.6 million, or 55.7%, from $649.3 million in the second quarter 2013.          Net


income for the second quarter came in at $106.3 million, or $1.33 per diluted share, an increase


of 48.8% from $71.4 million, or $0.93 per diluted share, in the second quarter 2013. In addition,


"[l]oss and loss adjustment expense totaled $587.2 million in the second quarter 2014, compared


to $364.1 million in the second quarter 2013 and resulted in a loss ratio of 67.1% compared with

67.9% for the second quarter 2013."         Loss and loss adjustment expense reserves were




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approximately $5,08 billion as of June 30, 2014.


        102.      On August 7, 2014, the Company held a conference call to discuss its financial


results for the second quarter of 2014, wherein Defendants Pipoly and Zyskind discussed 2014


loss reserves:


        Ron Pipoly


        You know 2014, we evaluate our loss reserves in all of our lines of business on a
        monthly basis and we're certainly encouraged about the trends that we see in prior
        excellent years as low as the current excellent year at seven month of valuation
        period. We'd encouraged about the trends we see in frequency, trends we see in
        average severity. We are holding steady with our loss picks. And, again we
        evaluate it on a monthly basis and have a lot of internal discussion about direction
        and the trends that we see and look to take advantage of the market.


        Barry Zyskind


        Just to add to it, as I said it in some previous call. 12, obviously, we started seeing
        a lot of approval in the 12 compare to the 1 1 year, 13 was much improved over 12
        and I would say 14 is tracking very similar to 13 and may be in some cases even
        better. So we're looking at the trends, we're seeing now for the 13, 14 and the 12
        year     and   really we   see very solid   performance and again we       think   very
        conservative and      discipline where we have to pick but we think that the
        performance is very, very solid and we think there's a lot of profitability in those
        lines.


        103.      On August 1 1, 2014, the Company filed its Form 1 0-Q for Q2 2014 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously


reported financial results. The Q2 2014 Form 10-Q represented that AmTrust's financial results


were accurate and presented in accordance with GAAP.               The Q2 2014 Form 10-Q also


represented that the Company's internal controls were effective and disclosed any material


changes to the Company's internal controls over financial reporting.       The Q2 2014 Fonn 10-Q


included Defendants Zyskind and Pipoly's certification pursuant to SOX, identical in all material


aspects to the certifications quoted in fl|98-99.


                  3.      Third Quarter 2014 Financial Results




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        104.      On November 3, 2014, AmTrust issued a press release announcing its third


quarter 2014 earnings results ("Q3 2014").        For the quarter, AmTrust reported $1.07 billion in


revenue, an increase of $343.4 million, or 47.1%, from $728.3 million in the third quarter 2013.

Net income came in at $156.6 million, or $1.97 per diluted share, an increase of 168.9% from


$58.2 million, or $0.74 per diluted share, in the third quarter 2013. In addition, "[l]oss and loss


adjustment expense totaled $609.4 million in the third quarter 2014, compared to $410.6 million

in the third quarter 2013 and resulted in a loss ratio of 66.6% compared with 66.9% for the third


quarter 2013."         As of September 30, 2014, loss and loss adjustment expense reserves totaled


$5,298 billion.


        105.      On November 10, 2014, the Company filed its Form 10-Q for Q3 2014 with the


SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust's


previously reported financial results.       The Q3 2014 Form 10-Q represented that AmTrust's


financial results were accurate and presented in accordance with GAAP. The Q3 2014 Form 10-


Q also represented that the Company's internal controls were effective and disclosed any


material changes to the Company's internal controls over financial reporting.          The Q3 2014

Form 10-Q included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical


in all material aspects to the certifications quoted in fl98-99.


                  4.        Fourth Quarter and Full Year 2014 Financial Results

        106.      On February 11, 2015, AmTrust issued a press release announcing its fourth


quarter and full year 2014 earnings results ("Q4 2014").           For the quarter, AmTrust reported


$1.05 billion in revenue, an increase of $231.4 million, or 28.3%, from $816.4 million in the


fourth quarter 201 3. Net income came in at $71.6 million, or $0.88 per diluted share, an increase

of 10.6% from $64.7 million, or $0.82 per diluted share, in the fourth quarter 2013. In addition,

"[l]oss and loss adjustment expense totaled $587.5 million in the fourth quarter 2014, compared


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to $470.4 million in the fourth quarter 2013 and resulted in a loss ratio of 64.7% compared with


66.5% for the fourth quarter 2013." As of December 31, 2014, loss and loss adjustment expense


reserves totaled $5.66 billion.

        107.    Total revenue for full year 2014 was $4.08 billion, an increase of $1.39 billion, or


51.4%, from $2.70 billion in 2013.       The Company also reported net income attributable to


AmTrust shareholders of $447 million, an increase of 58.39% when compared to full year 2013


net income of $282 million.


        1 08.   On February 11 , 201 5, AmTrust held a conference call with analysts and investors


to discuss Q4 and full year 2014 financial results.         During the call, Defendant Zyskind


commented on AmTrust' s loss reserves:


       Again, I think, you get kind of the fourth quarter as if you think about exiting the
       year 2014, I am not suggesting that a 12-month period makes it a seasoned book
       of business but you start to see trends emerging in terms of loss cost and claim
       focus of ratio and the thing that as you move through the year, you get more
       comfortable from a loss pick perspective. So I think that the fourth quarter
       benefits on a quarterly basis from any revisions you make during that quarter. So I
       really think when you look at the loss ratios, I think that the year is more
       reflective of our overall view of where we're at, but again we as I mentioned we
       continue to look at our reserves on a monthly basis. We like where we are from a
       — think we're very conservativefrom actuarial pick perspectives, as I mentioned
       we've added over $800 million of net reserves. Our IBNR is really nearly 50% of
       our gross reserves as we sit here at December 31st 2014. Again I think things are
       encouraging thought price environment continues to remain firm. We like the
       trends that we see in comp package some of our other commercial products
       specialty risk and extended warranty, so I think 2015 is shaping up to be a very
       solid year from a loss pick perspective.

       109.     On March 2, 2015, the Company Filed its Annual Report on Form 10-K for the


period ending December 31, 2014, which was signed and certified by Defendants and reiterated


AmTrust's previously reported financial       results.   The 2014 Form      10-K represented that


AmTrust's financial results were accurate and presented in accordance with GAAP. The 2014


Form 10-K also represented that the Company's internal controls were effective and disclosed




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any material changes to the Company's internal controls over financial reporting.        The 2014


Form 10-K included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical


in all material aspects to the certifications quoted in ^[98-99.


               5.      2015 Proxy Statement


        110.   On March 31, 2015, AmTrust filed its Definitive Proxy Statement on Schedule


14A with the SEC ("2015 Proxy Statement"). The statements made in the 2015 Proxy Statement


were materially false and misleading and failed to disclose that: (1) AmTrust had ineffective


assessment of the risks associated with its financial reporting; (2) the Company had an


insufficient complement of corporate accounting and corporate financial reporting resources


within the organization; (3) in turn, the Company lacked effective internal controls over


financial reporting; (4) the Company maintained inadequate loss reserves; and (5) AmTrust


enhanced earnings by ceding insurance losses to its subsidiaries.


               6.      First Quarter 2015 Financial Results


        ill.   On May 5, 2015, AmTrust issued a press release announcing its first quarter 2015


earnings results ("Ql 2015").    For the quarter, AmTrust reported $1.11 billion in revenue, an


increase of $0.16 billion, or 16.6%, from $0.95 billion in the first quarter 2014.     Net income


came in at $154.7 million, or $1.85 per diluted share, an increase of 54.9% from $99.9 million,


or $1.27 per diluted share, in the first quarter 2014.     In addition, "[I]oss and loss adjustment

expense totaled $613.3 million in the first quarter 2015, compared to $558.6 million in the first


quarter 2014, and resulted in a loss ratio of 64.6% compared with 67.4% for the first quarter


2014." As of March 31, 2015, loss and loss adjustment expense reserves totaled $5,886 billion.


       1 12.   On May 5, 2015, AmTrust held a conference call with analysts and investors to


discuss Ql 2015 financial results. During the conference call, Defendant Zyskind commented on

the Company's loss reserves, stating in pertinent part:



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        I don't think there is any one event or anything. I think we do believe they are
        based on where we are now, that it's definitely, in our opinion, cash flowing
        positive. And as we mentioned in the last call, we think we have sufficient, if
        not, excess reserves in terms of a lot of reserves we've put up against
        contestability in these things. So we think we're in very good position on the
        portfolio.


        113.    During the May 5 conference call, Defendant Pipoly also emphasized AmTrust's


conservative approach in estimating loss reserves: "Well, yes, I think at the end of the day, when


you look at reserves and consistent with our practice over the years, we've taken a conservative


approach as we enter these new accident years."


        114.    On May 11, 2015, the Company filed its Form 10-Q for Q1 2015 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously


reported financial results. The Q1 2015 Form 10-Q represented that AmTrust's financial results


were accurate and presented in accordance with GAAP.            The Q1 2015 Form 10-Q also

represented that the Company's internal controls were effective and disclosed any material


changes to the Company's internal controls over financial reporting.    The Q1 2015 Form 10-Q


included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical in all


material aspects to the certifications quoted in fl98-99.


               7.      Second Quarter 2015 Financial Results


        115.   On August 4, 201 5, AmTrust issued a press release announcing its second quarter


2015 earnings results ("Q2 2015"). For the quarter, AmTrust reported $1.1 1 billion in revenue,


an increase of $0.10 billion, or 10%, from $1.01 billion in the second quarter 2014. Net income


came in at $70.7 million, or $0.84 per diluted share, compared to $106.3 million, or $1.33 per


diluted share, in the second quarter 2014.      In addition, "[ljoss and loss adjustment expense


totaled $638.5 million in the second quarter 2015, compared to $587.2 million in the second


quarter 2014, and resulted in a loss ratio of 65.9% compared with 67.1% for the second quarter




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2014." As of June 30, 2015, loss and loss adjustment expense reserves totaled $6.38 billion.


           116.   On August 10, 2015, the Company filed its Form 10-Q for Q2 2015 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously


reported financial results. The Q2 2015 Form 10-Q represented that AmTrust's financial results


were accurate and presented in accordance with GAAP.              The Q2 2015 Form 10-Q also


represented that the Company's internal controls were effective and disclosed any material


changes to the Company's internal controls over financial reporting. The Q2 2015 Form 10-Q

included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical in all


material aspects to the certification quoted in ^98-99.


                  8.    Third Quarter 2015 Financial Results


           117.   On November 3, 2015, AmTrust issued a press release announcing its third


quarter 2015 earnings results ("Q3 2015").    For the quarter, AmTrust reported $1.23 billion in


revenue, an increase of $0.16 billion, or 15%, from $1.07 billion in the third quarter 2014. Net


income came in at $182.7 million, or $2.17 per diluted share, compared to $156.6 million, or


$1.97 per diluted share, in the third quarter 2014.       In addition, "[I]oss and loss adjustment


expense totaled $709.6 million in the third quarter 2015, compared to $609.4 million in the third


quarter 2014, and resulted in a loss ratio of 67.9% compared with 66.6% for the third quarter


2014."      As of September 30, 2015, loss and loss adjustment expense reserves totaled $6.69


billion.


           118.   On November 9, 2015, the Company filed its Form 10-Q for Q3 2015 with the


SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust's


previously reported financial results.   The Q3 2015 Form 10-Q represented that AmTrust's


financial results were accurate and presented in accordance with GAAP. The Q3 2015 Form 10-


Q also represented that the Company's internal controls were effective and disclosed any



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material changes to the Company's internal controls over financial reporting.          The Q3 2015


Form 10-Q included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical


in all material aspects to the certification quoted in fl|98-99.


                9.       Fourth Quarter and Full Year 2015 Financial Results

        119.    On February 10, 2016, AmTrust issued a press release announcing its fourth


quarter and full year 2015 earnings results.     For the quarter. AmTrust reported $1.21 billion in


revenue, an increase of $0.16 billion, or 16%, from $1.05 billion in the fourth quarter 2014.


Fourth quarter 2015 net income attributable to common stockholders was $63.9 million, or $0.37


per diluted share, compared to $71.6 million, or $0.44 per diluted share, in the fourth quarter


2014.   In addition, "[l]oss and loss adjustment expense totaled $720.8 million in the fourth


quarter 2015, compared to $587.5 million in the fourth quarter 2014, and resulted in a loss ratio


of 68.1% compared with 64.7% for the fourth quarter 2014." As of December 31, 2015, loss and


loss adjustment expense reserves totaled $7.2 billion.


        120.    Total revenue for full year 2015 was $4.66 billion, an increase of $580.0 million,


or 14%, from $4.08 billion in 2014.       The Company also reported net income attributable to


AmTrust shareholders of $472 million, an increase of 8.69% when compared to full year 2014


net income of $434 million.


        121 .   On February 10, 2016, AmTrust held a conference call with analysts and investors


to discuss Q4 and full year 2015 financial results. During the call, Defendant Pipoly discussed


"loss picks for 2016":

         But I think we are talking a conservative view at where we are on the trend.
         And I think that's really reflected in the fact that as we sit here at December 31,
         2015, 53.3% of our total gross reserves were in IBNR, which is up over 4%
         from year-end 2015. So I think we are taking a conservative view towards
         loss picks for 2016. But we continue to be encouraged by the trends that we
         see and discuss on a monthly basis.




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         122.    On February 29, 2016, the Company filed its Annual Report on Form 1 0-K for the


period ending December 31, 2015, which was signed and certified by Defendants and reiterated


AmTrust's previously reported financial results.              The 2015 Form       10-K represented that


AmTrust's financial results were accurate and presented in accordance with GAAP.                The 2015


Form 10-K also represented that the Company's internal controls were effective and disclosed


any material changes to the Company's internal controls over financial reporting.               The 2015


Form 10-K included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical


in all material aspects to the certification quoted in flJ98-99.


                10.      2016 Proxy Statement


         123.   On March 29, 2016, AmTrust filed its 2016 Proxy Statement with the SEC. The


statements made in the 2016 Proxy Statement were materially false and misleading and failed to


disclose that: (1) AmTrust had ineffective assessment of the risks associated with its financial


reporting; (2) the Company      had   an   insufficient   complement       of corporate   accounting   and


corporate financial reporting resources within the organization; (3) in turn, the Company


lacked    effective   internal controls    over   financial   reporting;    (4) the Company maintained


inadequate loss reserves; and (5) AmTrust enhanced earnings by ceding insurance losses to its


subsidiaries.


                11.      First Quarter 2016 Financial Results

         124.   On May 3, 2016, AmTrust issued a press release announcing its first quarter 2016


earnings results ("Ql 2016").       For the quarter, AmTrust reported $1.28 billion in revenue, an

increase of $0.16 billion, or 15%, from $1.11 billion in the first quarter 2015. Net income was


$100.3 million, or $0.56 per diluted share, compared to $154.7 million, or $0.93 per diluted

share, in the first quarter 2015.   In addition, "[l]oss and loss adjustment expense totaled $715.1


million in the first quarter 2016, compared to $613.3 million in the first quarter 2015, and



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resulted in a loss ratio of 66.6% compared with 64.6% for the first quarter 2015," As of March


31, 2016, loss and loss adjustment expense reserves totaled $7,516 billion.


        125.   On May 3, 2016, AmTrust held a conference call with analysts and investors to


discuss Q1 2016 financial results.    During the call, Defendant Pipoly expressed that AmTrust

was taking "a conservative view on our current accident year," and discussed AmTrust's


combined ratio:


       Adam Klaubcr


       Thank you, we are also very sorry about loss of Michael. A couple of questions,
       when we look at the overall combined ratio was closer to 89 in the first half of last
       year, was up to 92 in the back half of last year, now it's at 91, could you just
       describe the dynamics of those change?


       Ron Pipoly


       I think at the end of the day and maybe the commentary we gave on the third
       quarter call and the fourth quarter call last year, hopefully would have led to this
       kind of idea of somewhere in the low 90s from a combined ratios. If you think
       about any reserve movement that you may have within a truncated period whether
       from the third quarter, fourth quarter of last year, I mean expect those loss ratios
       in that quarter, so I think what you see is really stabilizing of the overall loss ratio
       and I think that reflects where we think we are at from a pricing environment not
       only in US workers comp, but in Italian med mal. So I think we are very
       comfortable at the 66.6% loss ratio we are able to achieve and I think expenses
       remain virtually unchanged at 24.6 which really is consistent with you know there
       hasn't been a significant shift in business mix.


       126.    On May 10, 2016, the Company filed its Form 10-Q for Q1 2016 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously


reported financial results. The Q1 2016 Form 10-Q represented that AmTrust's financial results


were accurate and presented in accordance with GAAP.               The Q1    2016 Form 10-Q also


represented that the Company's internal controls were effective and disclosed any material


changes to the Company's internal controls over financial reporting.       The Q1 2016 Form 10-Q

included Defendants Zyskind and Pipoly' s certifications pursuant to SOX, identical in all




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material aspects to the certification quoted in $$98-99.


                12.    Second Quarter 2016 Financial Results


        127.    On August 2, 2016, Am Trust issued a press release announcing its second quarter


2016 earnings results ("Q2 2016").     For the quarter, AmTrust reported $1.39 billion in revenue,


an increase of $0.28 billion, or 25%, from $1.11 billion in the second quarter 2015. Net income


was $134.8 million, or $0.78 per diluted share, compared to $70.7 million, or $0.42 per diluted


share, in the second quarter 2015.      In addition, "[l]oss and loss adjustment expense totaled


$784.4 million in the second quarter 2016, compared to $638.5 million in the second quarter


2015, and resulted in a loss ratio of 66.4% compared with 65.9% for the second quarter 2015."


As of June 30, 201 6, loss and loss adjustment expense reserves totaled $9,097 billion.


        128.   On August 2, 2016, AmTrust held a conference call with analysts and investors to


discuss Q2 2016 financial results. During the call. Defendant Zyskind touted AmTrust's ability


to properly calculate loss reserves:


       Again on an overall basis I think we do a very good job of setting reserves at adequate
        levels in order to take the claims to conclusion. I mean you'll see pockets of movements
       within Officer lines of business on an aggregate basis, there was no any material adverse
       development related to prior accident years.


        129.   On August 9, 2016, the Company filed its Form 10-Q for Q2 2016 with the SEC,


which was signed and certified by the Officer Defendants and reiterated AmTrust's previously

reported financial results. The Q2 2016 Form 10-Q represented that AmTrust's financial results


were accurate and presented in accordance with GAAP.            The Q2 2016 Form 10-Q also


represented that the Company's internal controls were effective and disclosed any material


changes to the Company's internal controls over financial reporting.    The Q2 2016 Form 10-Q


included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical in all


material aspects to the certification quoted in $$98-99.




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                  13.    Third Quarter 2016 Financial Results


           130.   On November 3, 2016, AmTrust issued a press release announcing its second


quarter 2016 earnings results ("Q3 2016").        For the quarter, AmTrust reported $1.41 billion in


revenue, an increase of $ 1 8 1 .3 million, or 1 5%, from $ 1 .23 billion in the third quarter 201 5. Net


income was $103.6 million, or $0.60 per diluted share, compared to $182.7 million, or $1 .09 per


diluted share in the third quarter 2015. In addition, "[l]oss and loss adjustment expense totaled


$811.0 million in the third quarter 2016, compared to $709.6 million in the third quarter 2015,

and resulted in a loss ratio of 67.8% compared with 67.9% for the third quarter 2015." As of


September 30, 2016, loss and loss adjustment expense reserves totaled approximately $9,428


billion.


           131.   On November 14, 2016, the Company filed its Form 10-Q for Q3 2016 with the


SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust' s


previously reported financial results.      The Q3 2016 Form 10-Q represented that AmTrust's


financial results were accurate and presented in accordance with GAAP. The Q3 2016 Form 10-


Q also represented that the Company's internal controls were effective and disclosed any


material changes to the Company's internal controls over financial reporting.            The Q3 2016


Form 10-Q included Defendants Zyskind and Pipoly's certifications pursuant to SOX, identical


in all material aspects to the certification quoted in ffl[98-99.


           132.   The statements referenced in fl95-131 were materially false and/or misleading


because they misrepresented and failed to disclose material adverse facts pertaining to the


Company's business and operations, which were known to Defendants or recklessly disregarded


by them.      Specifically, Defendants made false and/or misleading statements and/or failed to


disclose that: (1) AmTrust had ineffective assessment of the risks associated with its financial


reporting; (2) the Company      had   an insufficient   complement of corporate accounting and



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corporate financial reporting resources within the organization; (3) in turn, the Company


lacked     effective   internal controls   over    financial   reporting;   (4) the Company maintained


inadequate loss reserves; (5) AmTrust enhanced earnings by ceding insurance losses to its


subsidiaries; and (6) as      a   result   of     the    foregoing, AmTrust' s   public statements were


materially false and misleading at all relevant times.           As a result of this fraudulent scheme,


Defendants were able to artificially inflate the Company's financials throughout Relevant Period.


         C.      The Fraud Is Revealed


                 1.       February 27, 2017 Press Release


         133.    On February 27, 2017, AmTrust reported fourth quarter 2016 earnings that fell


well short of Wall Street expectations due, in large part, to a $65 million reserve charge primarily


related to strengthening of prior year loss and loss adjustment reserves in its "Specialty Program"


segment.      The Company also identified and corrected errors during the three months ended


December 31, 2016 related to prior periods in 2015 and 2016. These errors included accruing for


bonuses paid (which also impacted prior periods), adjusting foreign currency transactions gains


and losses and deferring a portion of warranty contract revenue associated with administration


services previously recognized upfront.           AmTrust also disclosed that it expected to make


corrections "to errors in its financial statements for fiscal years ended December 31, 2015 and


2014 and certain financial information for fiscal years ended December 31, 2013 and 2012 for


inclusion in the Form 10-K and these processes have not been completed."


         134.    The February 27, 2017 press release also revealed that AmTrust would be unable


to timely file its annual report and that it had identified material weaknesses in its internal


controls over financial reporting that existed as of December 31, 2016 relating to its ineffective


assessment of the risks associated with the financial reporting and an insufficient complement of




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corporate accounting and corporate financial reporting resources within the organization.      The


Company also        warned that additional adjustments and/or material weaknesses could be


identified.


               2.       February 27, 2017 Conference Call


        135.   On February 27, 2017, the Company held a conference call with analysts and


investors to discuss its financial results for the fiscal quarter ended December 31, 2016. During


the conference call, Defendant Pipoly discussed AmTrust's internal controls over financial


reporting:


        Additional time is needed for us to conclude our consolidated financial statements
       and assess internal controls over financial reporting for fiscal year 2016. And as a
        consequence for KMPG to complete its audit procedures and to audit the
       consolidated financial statements included in Form 10-K we will need a little
       additional time. As such, we expect to file our 10-K on or before March 16th,
       which we can still be considered a timely filer for SEC reporting purposes.


       In addition as part of our year-end close work, we've reviewed our internal
       controls of our financial reporting as required by Section 404 of the Sarbanes-
       Oxley Act of 2002 and identify material weaknesses in our internal control
       structure over financial reporting.


       These specifically relate to ineffective assessment of risk associated with financial
       reporting in an insufficient complement of corporate accounting and corporate
       financial reporting resources within the organization.

       We expect to complete the remaining work quickly and file the 10-K within allot
        15 day expansion period. We've started the process to improve our internal
       controls over financial reporting. We are expanding and enhancing our senior
       financial leadership team so we have the expertise and resources AmTrust need.


        136.   In reaction to these disclosures, AmTrust's stock plummeted $5.32 per share, or


19.23%, from $27.66 per share on Friday, February 24, 2017 to $22.34 per share on Monday,


February 27, 2017—wiping out over $900 million in Company market capitalization in one


trading day.


               3.       March 16, 2017 Press Release




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        137.   On March 16, 2017, after the close of the financial markets, the Company


announced that it would need additional time to complete its consolidated financial statements


and assessment of internal controls over financial reporting for the fiscal year ended December


31, 2016.   The Company also disclosed that its consolidated financial statements for 2014 and


2015 (including for each of the four quarters of 2015) as well as for the first three quarters of


2016 needed to be restated and should no longer be relied upon. The press release stated that the


Form 1 0-K filing delay and restatement "largely relate to the timing of recognition of revenue . .


. in the Company's service and fee business." These errors related to the upfront recognition of a


portion of warranty contract revenue and bonuses that were expended in the year paid but that


should have been accrued in the year earned.


       138.    On this news, AmTrusfs share price fell $4.03, or almost 19%, from $21.61 per


share on Thursday, March 16, 2017 to $17.58 per share on Friday, March 17, 2017.


               4.     April 4, 2017 Disclosures


       139.    On April 4, 2017, AmTrust informed investors that the impact of the restatements,


which primarily involve the timing of recognition of revenue in the Company's service and fee


business, "to net income attributable to common stockholders in 2014 and 2015 was a decline of


7.2% and 11.2%, respectively. Net income attributable to common stockholders in fiscal years


2014, 2015, and 2016, was $402.9 million, $419.1 million, and $363.1 million, respectively."


       140.    On that same date, the Company filed its 2016 Annual Report on Form 10-K with


the SEC explaining "the impact of the Restatement on the Consolidated Statements of Income


primarily resulted in decreased service and fee income, increased acquisition costs and other


underwriting expenses, and decreased interest expense, which ultimately resulted in decreases to


net income."   With regards to the Company's balance sheets, the restatements "resulted in an




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increase of premiums receivable and other assets, a reduction of deferred policy acquisition costs


and property plant and equipment, an increase in accrued expenses and other liabilities, and a


decrease   in shareholders'   equity." The    restatements   also   decreased    previously reported

stockholders' equity by $88.4 million as of December 3 1 , 2013.


        141.   As part of the restatements, AmTrust made adjustments to correct errors in: (i)


warranty fee revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign


exchange measurements; (v) capitalized software costs; (vi) imputed interest on contingent


consideration owed as      a result of certain business acquisitions; (vii) internal brokerage


commissions paid from one subsidiary to another; (viii)      unaccrued liabilities; and (ix) certain


balance sheet items, including premium receivables.


               5.      Wall Street Journal April 11, 2017 Article


        142.   On April 11, 2017, The Wall Street Journal reported that the FBI, SEC, and


NYDFS were probing AmTrust' s accounting practices.           One of AmTrust' s prior auditors is


assisting the FBI in its investigation. Although the status of the FBI probe, which is focused on


whether BDO tried to       bury poor practices in AmTrust's audits, is unclear, the SEC's


investigation into AmTrust's accounting scheme is ongoing.


        143.   According to the former BDO auditor quoted by The                Wall Street Journal,


"AmTrust has overstated its profits and financial health by understating what it may need to pay


policyholders in the future." In that regard, The Wall Street Journal article asserted:


       To mask this, they contend, the company has used complicated financial
       maneuvers, some involving related offshore companies.


       In a 2013 submission to the SEC, which has been reviewed by the Journal, the
       group claimed it used internal documents gathered by the whistleblower to
       calculate that $277 million in losses had been shifted to an offshore affiliate from
       2009 to 2012, bolstering AmTrust's operating income by that amount. This
       accounted for 38% of net income in 2012 alone, the group calculates.




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        In a presentation that the group says it gave to the FBI and federal prosecutors in
        2014, Mr. Markopolos's team called one set of alleged accounting moves 'The
        Washing Machine" for its purported cleansing effect on the bottom line, and
        another "The Loss Cemetery," for its alleged effectiveness in burying losses in
        offshore affiliated entities.


In reaction to The Wall Street Journal article, AmTrust's shares declined $3.57 per share, or


18.9%, from $18.87 per share on Monday, April 10, 2017 to $15.30 per share on Tuesday, April


11,2017.


                   6.    Keefe, Bruyette & Woods' May 2017 Note


        144.       On May 2, 2017, KBW stressed that investor conference in AmTrust could only


be rebuilt if the Company takes a reserve charge in the hundreds of millions of dollars and


commits to providing more in-depth disclosures. KBW analyst Meyer Shields noted that he was


"very uncomfortable" with AmTrust's reserves because its 2016 underwriting results seem


inconsistent with management's guidance. Shields further asserted that a review of loss triangles


suggest a substantial deficiency, meaning that AmTrust will likely have to strengthen reserves in


the near future.


        145.   KBW also recommended that AmTrust increase the size of its Board, reconstitute


the Audit Committee, and select an investor friendly management team.


VI.    THE     DIRECTOR          DEFENDANTS          VIOLATED     SECTION      14(a)   OF     THE
       EXCHANGE            ACT    AND    SEC   RULE      14a-9,   AND    BREACHED         THEIR
       FIDUCIARY DUTIES BY CAUSING THE COMPANY TO FILE MATERIALLY
       MISLEADING PROXY STATEMENTS


        146.   The Director Defendants also violated Section 14(a) of the Exchange Act and


SEC Rule 14a-9 by causing AmTrust to issue proxy statements that failed to disclose the illicit


accounting scheme or the seriously deficient internal and disclosure controls that allowed the




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scheme to begin and helped perpetuate it.          The Director Defendants' failure to disclose those


material facts likewise constitutes a breach of their fiduciary duties.


        A.       Numerous Director Defendants Caused AmTrust to Issue the Materially
                 False and Misleading 2015 Proxy Statement


        147.     On March 31, 2015, Defendants Zyskind, G. Karfunkel, Gulkowitz, Fisch, and


DeCarlo caused AmTrust to file the 2015 Proxy Statement in connection with the 2015 annual


stockholders meeting to be held on May 20, 2015.                   In the 2015 Proxy Statement, these


Defendants solicited stockholder votes to (i) re-elect themselves to the Board; and (ii) approve


executive compensation.      With respect to each of these solicited votes, these Defendants issued


materially false or misleading statements.


        148.     According to the 2015 Proxy Statement, the Board's Audit Committee plays a


central role in overseeing the Company's financial, accounting and reporting processes, system


of internal accounting and financial controls, and compliance with                 legal and regulatory


requirements.    As part of its endeavors, the Audit Committee retains and oversees AmTrust' s


independent     auditors,   and   is   tasked   with   reviewing   complaints   "regarding   questionable


accounting or auditing matters."          The Audit Committee's role also includes meeting with


management and AmTrust' s independent auditors to review the Company's quarterly and annual


financial statements.


        149.    The 2015 Proxy Statement stressed that the Audit Committee "reviewed and


discussed the audited financial statements with management and with [AmTrust' s] independent


auditors." The Audit Committee also met with the Company's independent auditors to discuss


the results of their examinations, their evaluation of AmTrust' s internal controls, and the overall


quality of the Company's financial reporting. As a result, the Audit Committee "recommended




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to [the] Board that the auditedfinancial statements of the Company be included in the Annual


Report on Form 10~Kfor the year ended December 31, 2014forfiling with the SEC"


        150.    The 2015 Proxy Statement further asserted that "[a]ll directors, officers, and


employees must act ethically at all times and in accordance with our Code of Business Conduct


and Ethics."     In addition, the Board highlighted that executive compensation levels "are


competitive" in order to dissuade executives from taking "unnecessary and excessive risks."


After reviewing the Company's material compensation policies and practices, the Compensation


Committee "concluded that these policies and practices do not create risks that are reasonably


likely to have a material adverse effect on" AmTrust.


        151.    Those statements conveyed that the Board (i) maintained sufficient compliance,


risk controls, review, and reporting programs to identify and address misconduct; (ii) was


unaware of existing material risks that could affect the Company; (iii) had policies to deter


unnecessary or excessive risk taking, including compensation and ethics policies; and (iv)


maintained effective risk management practices.


        152.    The 2015 Proxy Statement omitted any disclosures regarding AmTrust's (i)


ineffective assessment of the risks associated with its financial reporting; (ii) insufficient


complement of corporate accounting and corporate financial reporting resources within the


organization; (iii) material weaknesses in its internal controls over financial reporting; (iv)


inadequate loss reserves; and (v) artificially inflated financial results.


        153.    The 2015 Proxy Statement harmed AmTrust by interfering with the proper


governance on its behalf that follows stockholders' informed voting of directors. As a result of


the false or misleading statements in the 2015 Proxy Statement, AmTrust stockholders voted to


re-elect Defendants Zyskind, G. Karfunkel, Gulkowitz, Fisch, and DeCarlo to the Board.




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        B.       Numerous Director Defendants Caused AmTrust to Issue the Materially
                 False and Misleading 2016 Proxy Statement


        154.     On March 29, 2016, Defendants Zyskind, G. Karfunkel, Gulkowitz, Fisch, and


DeCarlo caused AmTrust to file the 2016 Proxy Statement in connection with the 2016 annual

stockholders meeting to be held on May 19, 2016.                   In the 2016 Proxy Statement, these


Defendants solicited stockholder votes to, among other things, (i) re-elect themselves to the


Board; (ii) approve executive compensation; and (iii) approve an amendment to AmTrust' s


Amended and Restated Certificate of Incorporation.             With respect to each of these solicited


votes, these Defendants issued materially false or misleading statements.

        155.     According to the 2016 Proxy Statement, the Board's Audit Committee plays a


central role in overseeing the Company's financial, accounting and reporting processes, system


of internal    accounting and financial controls, and compliance with legal and regulatory


requirements.    As part of its endeavors, the Audit Committee retains and oversees AmTrust's


independent     auditors,   and   is   tasked   with   reviewing   complaints   "regarding   questionable


accounting or auditing matters."          The Audit Committee's role also includes meeting with


management and AmTrust's independent auditors to review the Company's quarterly and annual


financial statements.


        156.    The 2016 Proxy Statement emphasized that the Audit Committee "reviewed and


discussed the audited financial statements with management and with [AmTrust's] independent


auditors." The Audit Committee also met with the Company's independent auditors to discuss


the results of their examinations, their evaluation of AmTrust's internal controls, and the overall

quality of the Company's financial reporting. As a result, the Audit Committee "recommended


to [theJ Board that the auditedfinancial statements ofthe Company be included in the Annual


Report on Form 10-Kfor the year ended December 31, 2015forfiling with the SEC."




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        157.     The 2016 Proxy Statement further asserted that "(a]ll directors, officers, and


employees must act ethically at all times and in accordance with our Code of Business Conduct


and   Ethics."    In   addition, the Board     stressed   that executive compensation   levels   "are


competitive" in order to dissuade executives from taking "unnecessary and excessive risks."


After reviewing the Company's material compensation policies and practices, the Compensation


Committee "concluded that these policies and practices do not create risks that are reasonably


likely to have a material adverse effect on" AmTrust.


        158.     Those statements conveyed that the Board (i) maintained sufficient compliance,


risk controls, review, and reporting programs to identify and address misconduct; (ii) was


unaware of existing material risks that could affect the Company; (iii) had policies to deter


unnecessary or excessive risk taking, including compensation and ethics policies; and (iv)


maintained effective risk management practices.


        159.     The 2016 Proxy Statement omitted any disclosures regarding AmTrust's (i)


ineffective assessment of the risks associated with its financial reporting; (ii) insufficient


complement of corporate accounting and corporate financial reporting resources within the


organization; (iii) material weaknesses in its internal controls over financial reporting; (iv)


inadequate loss reserves; and (v) artificially inflated financial results.


        160.     The 2016 Proxy Statement harmed AmTrust by interfering with the proper


governance on its behalf that follows stockholders' informed voting of directors. As a result of


the false or misleading statements in the 2016 Proxy Statement, AmTrust stockholders voted to


re-elect Defendants Zyskind, G. Karfunkel, Gulkowitz, Fisch, and DeCarlo to the Board.




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    VII.     DEFENDANTS VIOLATED SECTION 10(b) OF THE EXCHANGE ACT AND
             SEC     RULE     lOb-5,   AND   BREACHED         THEIR      FIDUCIARY           DUTIES.    BY
             KNOWINGLY          OR     RECKLESSLY         ISSUING    MATERIALLY              FALSE     AND
             MISLEADING STATEMENTS DURING THE RELEVANT PERIOD


             161.     In breach of their fiduciary duties to AmTrust and its shareholders, and in


    violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5, Defendants issued, and


    caused the Company to issue, statements that, in light of the illicit accounting scheme detailed


    above,    were materially false or misleading when made.            Defendants'       misrepresentations


    artificially inflated the price of AmTrust shares, causing the Company to purchase shares at

                                                                                      8
    artificially inflated prices, through its significant stock repurchase program.


             162.     Defendants' misconduct had two aims, both of which were realized:


             First, by causing AmTrust to conduct share repurchases, Defendants signaled to investors


    their purported belief that AmTrust shares were trading at a discount, which caused investors to


    purchase shares and thereby drive the price up.           Further, and relatedly, the Company's


    repurchasing of shares artificially inflated its financial metrics such as earnings per share, as the


    repurchases resulted in fewer outstanding shares. The artificial inflation of AmTrust shares was


    both financially beneficial to Defendants, as numerous Defendants' compensation was tied to the


    Company's financial performance, and helped mask the illicit accounting scheme (and thus


    helped perpetuate it).


             Second, as detailed below, as a result of the artificial inflation of the price of AmTrust


    shares, the Insider Selling Defendants sold shares at higher priees, and in some instances sold


.   them to the Company—and thus reaped greater proceeds—than they would have absent the


    artificial inflation.




    8
        Defendants' materially false and misleading statements throughout the Relevant Period are
    documented in ^[95-13 1 .



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           A.       Defendants   Caused AmTrust to Conduct a Massive Stock Repurchase
                    Program


           163.     AmTrust's Board periodically authorizes the Company to repurchase its own


shares of common stock. The Board authorized a series of share repurchases during the Relevant


Period that, collectively, were substantially higher than any other repurchases in the Company's


history.


           164.     In December 2013, AmTrust's Board of Directors approved a $150 million share


repurchase program. In April 2016, the Board of Directors approved an increase of $200 million


to the Company's existing stock repurchase authorization.           As detailed in the chart below,


between June 2014 and August 2016, AmTrust repurchased approximately 8,045,787 shares of


its stock, paying over $227 million for them:


                 Month/Year of         Shares            Weighted-           Amount
                  Repurchase        Repurchased9        Average Price


                June 2014                   266,886        $41.08             $10,963,677

                August 2014                     1,771      $42.50                 $75,268

                September 2014              841,131        $39.83             $33,502,248

                October 2014                367,379        $39.69            $14,581,273

                December 2014                92,448        $56.25              $5,200,200


                January 2015                 10,505        $55.00               $577,775

                February 2015                37,783        $55.60              $2,100,735

                December 2015               184,898        $30.79              $5,693,009

                February 2016               658,552        $24.90            $16,397,945

                March 2016                    5,539        $24.96               $138,253




9 Includes shares that were withheld to satisfy tax withholding amounts due from certain
employees upon the vesting of previously issued restricted shares.



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               Month/Year of          Shares           Weighted-           Amount
                Repurchase         Repurchased9      Average Price

             April 2016                  2,096,017       $24.79             $51,960,261

             May 2016                     448,506        $25.93             $11,629,761

             June 2016                   1,031,337       $24.57            $25,339,950

             July 2016                   1,899,645       $24.39            $46,332,342

             August 2016                   103,390       $24,34              $2,516,513

                  Total                  8,045,787                        $227,009,210



        165.     After the April   11, 2017 Wall Street Journal article, the price per share of


AmTrust stock fell to $15.30.      This reflected the true price per share of AmTrust stock had


Defendants not engaged in the illicit accounting scheme detailed herein.           Therefore, any


repurchases by the Company should have been made valuing their common stock at $15.30. As


such, during the Relevant Period, AmTrust overpaid for repurchases of its own stock by


approximately $ 1 04 million.


        166.     In conducting share repurchases, Defendants falsely signaled to the public that


they believed AmTrust's shares were undervalued and that the repurchases were the best use of


the Company's cash.        The share repurchases also had the effect of growing the Company's


earnings per share—as share repurchases lower the number of shares outstanding, on which


earnings per share are based—as well as its return on assets, return on equity, and other metrics.


Together, these actions helped inflate AmTrust's share price.


        B.       The Insider Selling Defendants Unlawfully Profited at AmTrust's Expense
                 By Selling Back Shares to the Company at Artificially Inflated Prices


        167.     During the Relevant Period, the Insider Selling Defendants (Pipoly, Gulkowitz,


and   DeCarlo) took advantage of the artificial      inflation of AmTrust's shares caused      by




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Defendants' false or misleading statements.     These Defendants collectively sold or otherwise


disposed of over $5,625,000 in AmTrust stock during that time, all while in the possession of


material, non-public information. The Company's share price was also lifted during that time by


the share repurchase program, which was approved despite Defendants' knowledge or reckless


disregard of the unlawful practices detailed in this Complaint.


       168.    As detailed in the chart below, Defendant Pipoly sold or otherwise disposed of


89,780 shares of AmTrust common stock for a total of $3,152,561 :


                Transaction      Number of           Price per    Total Value
                    Date           Shares             Share


                02/15/2014             2,045          $33.33            $68,160

                02/15/2014              1,959         $33.33            $65,293

                03/05/2014              1,812         $38.16            $69,146

                03/22/2014               378          $38.87           $14,693

                01/02/2015            14,393         $56,029          $806,425

                01/02/2015               481         $56.6358          $27,242

                02/15/2015             2,841          $55.60          $157,960

                02/15/2015             2,770          $55.60          $154,012

                03/05/2015             2,238          $53.87          $120,561

                03/05/2015             2,288          $53.87          $123,255

                01/04/2016             2,000         $60,154          $120,308

                02/04/2016             4,000         $27.3534         $109,414

                02/15/2016             3,970          $25.05           $99,449

                03/04/2016             4,000         $25,605          $102,420

                03/05/2016             4,475          $25.73          $115,142




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                Transaction    Number of            Price per    Total Value
                    Date         Shares              Share

                03/05/2016           4,575           $25.73            $117,715

                03/05/2016           3,241           $25.73             $83,391

                04/04/2016           4,000          $26.4044           $105,618

                05/04/2016           4,000          $25.6055           $102,422

               01/03/2017            4,000          $27.1845           $108,738

               02/03/2017            4,000          $26.7312           $106,925

               03/03/2017            4,000          $22.6708            $90,683


               03/05/2017            3,210           $23.03             $73,926

               03/05/2017            3,282           $23.03             $75,584


               03/05/2017            2,325           $23.03             $53,545

               03/05/2017            3,497           $23.03             $80,536

                   Total            89,780                          $3,152,56310


       169.   As detailed in the chart below, Defendant Gulkowitz sold or otherwise disposed


of 22,251 shares of AmTrust common stock for a total of $859,600:


              Transaction      Number of             Price per      Total Value
                  Date           Shares               Share


              11/24/2015               7,125          $61.84            $440,610

              12/20/2016              15,126          $27.70            $418,990


                  Total              22,251                           $859,600"




10 As of April 11, 2017, Defendant Pipoly's ownership interest in AmTrust was worth
$5,085,077.
11 As of April 11, 2017, Defendant Gulkowitz's ownership interest in AmTrust was worth
$595,445.



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         170.    As detailed in the chart below, Defendant DeCarlo sold or otherwise disposed of


46,673 shares of AmTrust common stock for a total of $1,613,795:


                 Transaction     Number of        Price per Share      Total Value
                     Date          Shares


                 05/21/2014           21,689          $44.4438            $963,942

                 09/15/2016             2,200         $26.5299              $58,366

                  10/03/2016            3,114         $26.1925              $81,563

                  11/01/2016            3,200         $25.8859              $82,835

                 12/01/2016             3,420         $25.7497              $88,064

                 01/03/2017             4,620         $27.1896            $125,616

                 02/01/2017             4,830         $26.6686            $128,809

                 03/01/2017             3,600          $23.50              $84,600

                     Total            46,673                           $1,613,795"



         171.    At the time of these stock transactions, the Insider Selling Defendants knew about

or recklessly disregarded material, non-public information regarding the illicit accounting


scheme, but nonetheless sold or otherwise disposed of AmTrust common stock on the basis of


that information.


        C.       In Repurchasing Stock, AmTrust relied on Defendants' False or Misleading
                 Statements


         172.    In repurchasing shares in connection with the stock repurchase program, AmTrust


relied on Defendants' false or misleading statements, either directly or through the "fraud on the


market" doctrine articulated in Basic Inc. v. Levinson, 485 U.S. 224 (1988), and Halliburton Co,




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     As of April 11, 2017, Defendant DeCarlo's ownership interest in AmTrust was worth
$1,711,121.40.



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v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014), or through the doctrine articulated in


Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).


        173.    Throughout the Relevant Period, AmTrust justifiably expected Defendants to


disclose material information as required by law and SEC regulations in the Company's periodic


filings with the SEC.    AmTrust would not have repurchased its securities at artificially inflated


prices had Defendants disclosed all material information then known to them, as detailed in this


Complaint.     Thus, reliance by AmTrust should be presumed with respect to Defendants'


omissions of material information as established under the Affiliated Ute presumption of


reliance.


        174.   Additionally, the "fraud on the market" presumption applies to Defendants'


misstatements of material fact or failures to disclose material facts.


        175.   At all relevant times, the market for AmTrust's common stock was efficient, for


the following reasons, among others:


               a)       AmTrust's stock met the requirements for listing, and was listed and
                        actively traded on the NASDAQ, a highly efficient and automated market;


               b)       As a regulated issuer, AmTrust filed periodic reports with the SEC and the
                        NASDAQ;


               c)       AmTrust regularly communicated with public investors via established
                        market      communication     mechanisms,        including   through   regular
                        disseminations of press releases on the national circuits of major newswire
                        services and through other wide-ranging public disclosures, such as
                        communications with the financial press and other similar reporting
                        services;


               d)       AmTrust was followed by numerous securities analysts employed by
                        major brokerage firms, who wrote reports that were distributed to those
                        brokerage firms' sales force and certain customers, and each of those
                        reports was publicly available and entered the public market place; and


               e)       The market price of AmTrust's stock reacted rapidly to new information
                        entering the market.




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        176.    As a result of the foregoing, the market for AmTrust's common stock promptly


digested current information regarding the Company from all publicly available sources and

reflected such information in the price of AmTrust's stock.       The foregoing facts indicate the


existence of an efficient market for trading of AmTrust stock and support application of the


fraud-on-the-market doctrine.

        177.   AmTrust relied on the integrity of the market price for the repurchase of its stock


and is entitled to a presumption of reliance with respect to Defendants' misstatements and


omissions alleged in this Complaint.


        178.   Had AmTrust known of the material adverse            information not disclosed by


Defendants, or been aware of the truth behind Defendants' material misstatements, the Company


would not have repurchased AmTrust stock at artificially inflated prices.


        D.     Neither the Statutory "Safe Harbor" Nor the "Bespeaks Caution" Doctrine
               Apply to Defendants' Misrepresentations


        179.   Neither the safe-harbor provision of the Private Securities Litigation Reform Act


of 1995 ("PSLRA") nor the judicially created "bespeaks caution" doctrine applicable to forward-


looking statements under certain circumstances applies to any of the false or misleading


statements pleaded in this Complaint.     None of the subject statements constituted a forward-


looking statement; rather, they were historical statements or statements of purportedly current


facts and conditions at the time the statements were made, including statements about AmTrust's


present financial condition and its internal controls, among other things.


       180.    Alternatively, to the extent any of the false or misleading statements pleaded in


this Complaint could be construed as forward-looking statements, they were not accompanied by


any meaningful cautionary language identifying important facts that could cause actual results to




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differ materially from those in the purportedly forward-looking statements. Further, to the extent


the PSLRA's safe harbor would otherwise apply to any forward-looking statements pleaded in


this Complaint, Defendants are liable for those false or misleading statements because at the time


each of those statements was made, the speaker(s) knew the statement was false or misleading,


or the statement was authorized or approved by an executive officer of AmTrust or a Defendant


who knew the statement was materially false or misleading when made.


       E.      The Group Pleading Doctrine Applied to Defendants' Misstatements and
               Omissions


        181.   While this Complaint identifies Defendant signatories or speakers with respect to


the false or misleading statements identified above (see 1)1(95-131), the group pleading doctrine


also applies to render Defendants responsible for statements as to which they are not explicitly


identified as the speaker or signatory.   Defendants participated in the drafting, preparation, or


approval of the various shareholder and investor reports and other communications concerning


AmTrust identified in this Complaint, and were aware of or recklessly disregarded the


misstatements contained in those reports and other communications as well as the omissions

from them, and were aware of their materially false and misleading nature.    Each Defendant, by


virtue of his or her position(s) at AmTrust, had access to adverse undisclosed information about


the Company's business prospects and financial condition and performance as alleged in this


Complaint, and knew or recklessly disregarded that those adverse facts rendered the subject


statements materially false or misleading when made.


       182.    Defendants, because of their positions of control and authority as officers or


directors of AmTrust, were able to and did control the content of the various SEC filings, press


releases, and other public statements pertaining to the Company during the Relevant Period.

Each Defendant was provided with copies of the documents alleged in this Complaint to be false




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or misleading prior to or shortly after their issuance, or had the ability or opportunity to prevent


their issuance or to cause them to be corrected.     Accordingly, each Defendant is responsible for


the accuracy of the public reports, releases, and other statements detailed in this Complaint and is


therefore primarily liable for the misrepresentations in them or misleading omissions from them.


        F.      Defendants' Misstatements and Omissions Caused Damages to AmTrust


        183.    Throughout the Relevant Period, the price of AmTrust' s common stock was

artificially inflated as a result of Defendants' materially false and misleading statements and


omissions identified above. Defendants engaged in a scheme to deceive the market and a course

of conduct that operated as a fraud or deceit on AmTrust, which repurchased shares at artificially


inflated prices.   When Defendants' prior misrepresentations and fraudulent conduct were


disclosed and became apparent to the market, the price of AmTrust stock fell as the prior


artificial inflation dissipated. As a result of its purchases of AmTrust shares during the Relevant


Period, the Company suffered damages under the federal securities laws. See ^[1 63-66.


        1 84.   The decline in AmTrust' s share price was a direct result of the nature and extent


of Defendants' fraud finally being revealed to the market.       The timing and magnitude of the


decline in the Company's share price negates any inference that the losses suffered by AmTrust


were caused by changed market conditions, macroeconomic or industry factors, or Company-


specific facts unrelated to Defendants' fraudulent conduct.


        185.    On May 8, '201 7, AmTrust held a conference call with analysts and investors to


discuss Q1 2017 financial results.   During the call, Defendants Zyskind and Pipoly each stated


that AmTrust incurred estimated costs of $17 million associated with the Company's restatement


of its financials during the first quarter of 2017. These additional costs for professional services




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were a direct result of the Defendants' misconduct described herein and have damaged the


Company as a result.


VIII.   DEMAND ON THE AMTRUST BOARD WOULD HAVE BEEN FUTILE


        186.     Plaintiff has not made a demand on the Board to institute this action against


Defendants because, for the reasons detailed above and as further set forth below, any such


demand would be a futile and useless act.


        187.     At the time of the filing of this action, the Board consists of the following seven


directors:     Defendants Zyskind, G. Karfunkel, L. Karfiinkel, Gulkowitz, Fisch, Rivera and


DeCarlo. Plaintiff only needs to allege that demand is excused as futile as to four of the seven


Board members at the time this action was commenced.


        188.     The facts detailed in this Complaint demonstrate that the Director Defendants (i)


affirmatively adopted, implemented, and condoned a business strategy based on deliberate and


widespread violations of applicable law, which is not a legally protected business decision and


can in no way be considered a valid exercise of business judgment; and/or (ii) consciously


disregarded numerous red flags of misconduct throughout the Relevant Period, subjecting them


to a substantial likelihood of liability as to Plaintiffs claims against them in this action.


Accordingly, demand on the Board is excused.


        A.       Demand Is Excused Because the Director Defendants' Conduct Did Not
                 Constitute a Valid Exercise of Business Judgment


        189.     Plaintiff did not make a demand on the AmTrust Board prior to instituting this


action because the wrongful acts complained of in this Complaint evidence a pattern of conduct


showing a wholesale abandonment of the Director Defendants' fiduciary duties.          Those acts,


detailed above, include:




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               a)      allowing   AmTrust      insiders—Defendants    DeCarlo,    Gulkowitz,   and


                       Pipoly—to engage in insider selling while in possession of material, non


                       public information relating to the illicit accounting scheme (see 11167-71);


               b)      perpetuating woefully inadequate controls over the Company's financial


                       reporting and corporate governance, which allowed the illicit accounting


                       scheme to begin and persist for years and allowed the Company to


                       purchase millions of dollars' worth of AmTrust stock at prices that were


                       artificially inflated due to Defendants' misconduct (see 1169-92);


               c)      causing AmTrust to file materially false and misleading SEC filings (see


                      1195-131); and


               d)     approving a share repurchase program through which AmTrust bought


                      back millions of shares of stock at artificially inflated prices (see 11163-


                      66).


       190.    These acts, and the other improper acts set forth in this Complaint, which


demonstrate a pattern of misconduct, were not the product of a valid or good faith exercise of


business judgment, nor could they have been.


       191.    The Director Defendants' misconduct at the heart of this case constitutes the

direct facilitation of violations of federal and state law, including knowingly and consciously


presiding over the Company's systematic deficiencies and unsound practices of maintaining


inadequate loss reserves, engaging in related-party transactions to artificially inflate financial


results, and concealing the illicit accounting irregularities and their corresponding effects on


AmTrust's financial results.   Among other things, the Director Defendants made, or caused




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AmTrust to make, materially false or misleading statements (such as in AmTrust's Form 10-Ks


filed with the SEC during the Relevant Period).


        192.   The Director Defendants' blatant and repeated disregard of their responsibility to


safeguard the Company against wrongdoing indicate they knowingly adopted, endorsed, or

condoned the repeated dissemination of false and misleading financial statements, which cannot


be considered a legitimate exercise of business judgment. Demand is therefore excused.


       B.      Demand Is Excused Because the Director Defendants Face a Substantial
               Likelihood of Liability Due to Their Knowledge or Conscious Disregard of
               Facts Relating to the Illicit Accounting Scheme


        193.   Demand is also excused because the Director Defendants face a substantial


likelihood of liability for the claims alleged against them in this Complaint, given their


awareness or conscious disregard of significant red flags relating to the Company's illicit


accounting practices.


        194.   The Director    Defendants'    challenged   misconduct at the    heart   of this case


constitutes the direct facilitation of violations of federal securities laws, including knowingly and


consciously presiding over the Company's systematic and deficient accounting practices, as well


as actively covering up this misconduct through the Director Defendants' participation in the


materially misleading SEC filings.    As the ultimate decision-making body of the Company, the


Board affirmatively adopted, implemented, and condoned a business strategy based on deliberate


and widespread violations of applicable law. Breaking the law is not a legally protected business


decision and such conduct can in no way be considered a valid exercise of business judgment.


Accordingly, demand on the Board is excused.


       195.    Moreover, under the Audit Committee Charter, Defendants DeCarlo, Fisch, and


Gulkowitz, as members of that Committee, owed specific duties to AmTrust that related directly




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to the misconduct alleged in this Complaint. Pursuant to the Audit Committee Charter, the Audit


Committee is required to regularly report to the Board and "discuss with management and the


independent auditor any correspondence with regulators or government agencies and any


published reports, which raise material issues regarding the Company's financial statements or


accounting practices,"


         196.      The Audit   Committee's    Charter also     tasks   the   Audit   Committee   with   the


obligation to oversee and monitor the Company's compliance with laws and regulations, as well


as    monitoring    the   accounting and   financial   reporting practices    of the   Company and      its


subsidiaries.     As such, the Audit Committee failed to meet their obligations as provided in the


Audit Committee Charter, in addition to their duties imposed by law, because they did not cause


AmTrust to remediate the Company's accounting irregularities and deficiencies, despite the


numerous publications and direct correspondences highlighting reasons for concern with the


Company's fundamental accounting practices.             Instead, Defendants opted to pursue litigation


scare tactics designed to silence those that questioned the Company's practices.


         197.      Specifically, the Audit Committee was made aware of these public concerns and


the appearance of severe accounting irregularities within the Company in the Alistair Capital


Letter and still failed to investigate, as required by the Audit Committee Charter.         The Alistair


Capital Letter was directly addressed to Audit Committee members Gulkowitz, Fisch, and


DeCarlo.        After Barron's published two in-depth articles articulating AmTrust' s apparent


accounting discrepancies and improper financial reporting in February and May 2014, Alistair


Capital expressed, in painstaking detail, six major areas of concern with regard to AmTrust' s


financial reporting and accounting practices.          Rather than investigating these assertions, the




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Audit Committee, and in turn the Board, allowed AmTrust to continue furnishing false and


misleading statements to shareholders in the Company's quarterly and annual SEC filings.


         198.   Even more troubling are the Company's responses to the Barron's and GEO


Investing articles.   Immediately after GEO's December 12, 2013 article, Defendant Zyskind


assured investors that the Company has "never been stronger" and was the target of short seller


reports hoping to devalue AmTrust's share price.      Shortly after the May 2014 Barron's article


was published, the Company issued a public response in an attempt to dispel the author's


"significant factual inaccuracies," according to AmTrust.         Because Zyskind was serving in


multiple executive leadership positions with the Company and was a longstanding director of the


Board at the time of the Company's public response, Zyskind was fully aware in June 2014 of


the pointed allegations concerning the Company's accounting inadequacies that were raised in


the May 2014 Barron 's article. The Board, in turn, took no action.


         199.   The Company even admits in its June 2014 response that AmTrust provided


Barron 's writer Bill Alpert with certain written responses in preparation of the Barron 's articles.


The December 2013 GEO article and 2014 Barron's articles were the first set of red flags


presented to the Board and placed a majority of the Board on notice of the accounting


discrepancies that facilitated the Company's inflated stock price during the Relevant Period and


the Company's damages once the irregularities were finally revealed.         In the face of these red


flags,   Defendants consciously failed to     investigate,   regulate,   and rectify the accounting


improprieties that would later cause the Company to restate its financial statements with the


SEC.


         200.   In addition to the 2014 Barron 's articles that alerted the Board of the Company's


inaccurate and misleading financial statements, Barron's published a third scathing article in




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April 2016 that questioned AmTrust's accounting practices yet again. The Company once again


attempted to refute the assertions in the article in a public response issued shortly after the


article's publication.   Zyskind, who was then a member of the Board and AmTrust's CEO and


President, was well-aware of the April 2016 Barron's article's factual assertions. In April 2016,


Zyskind consciously disregarded his duty to address the accounting irregularities, and instead


caused the Company to publicly refute Barron 's allegations of improper accounting practices for


a second time.


        201.     During the Relevant Period, the Director Defendants were aware of multiple


glaring red flags that should have caused them to investigate and alleviate the accounting


irregularities raised in the GEO Investing article, the three Barron's articles and the Alistair


Capital Letter to the Audit Committee. Because the Board consciously disregarded their duty to


monitor these issues and deliberately failed to act in response, the Board faces a substantial


likelihood of liability as a result of their misconduct allege herein. Demand is therefore excused.


        202.     In addition, the Audit Committee members DeCarlo, Fisch, and Gulkowitz were


further charged with assisting the Board in overseeing the integrity of the Company's financial


statements and the adequacy and reliability of disclosures to its stockholders, which includes the


maintenance of accurate books and records and the assurance the Company does not make a


representation that is not fully accurate.


        203.     But AmTrust's internal accounting and disclosure controls were neither reliable


nor adequate.      Instead, the Company's financial statements and accounting records were


deficient, causing AmTrust to issue materially false and misleading information regarding the


Company's financial results and loss reserve liabilities.    The Audit Committee was directly


responsible for approving the Company's materially false and misleading annual Forms 10-K




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and    quarterly    Forms    10-Q,   including   the   Company's    disclosures    under   "Management's


Discussion and Analysis of Financial Condition and Results of Operations," as well as the

Company's earnings press releases during the Relevant Period.                     Each Audit Committee


Defendant signed the Company's SEC Form 10-Ks during the Relevant Period.


         204.      The Audit Committee's deliberate failure of oversight constituted breaches of


their fiduciary duties to AmTrust and has resulted in significant harm to the Company.


        205.       Accordingly,   there   is   significant   doubt that   the   Director   Defendants are

disinterested because they face a substantial likelihood of liability for their breaches of fiduciary


duties, including their duties of good faith, fair dealing, and loyalty, as well as other violations of


law.   These Defendants breached their fiduciary obligations to the Company, and therefore


cannot impartially consider a demand to address the wrongdoing detailed in this Complaint.


        206.       Given the combination of the Company's financial restatements and the Board's


ultimate awareness of the Company's accounting improprieties—wrongful actions that resulted,


among other things, in the Company's repurchase of hundreds of millions of dollars of inflated

AmTrust common stock during the Relevant Period—it is clear the Board either deliberately or


recklessly failed to take remedial action to rectify the illicit accounting errors the Company

repeatedly furnished to its shareholders.


        207.       For these reasons, the Board is incapable or unwilling to take the actions required


to seek the relief requested in this Complaint.              Because a majority of the Board faces a


substantial risk of liability, demand is futile.


        C.         Demand is Futile Because the Control Group Dominated the Board


        208,       Demand is further excused because AmTrust and the Board are dominated and


controlled by the Control Group (Zyskind, L. Karfunkel, and G. Karfunkel), which beneficially




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owns approximately 50% of the Company's voting power.               As such, the Control Group further


illustrates the perpetual stronghold the Karfunkel family has maintained over AmTrust since


founding the Company almost two decades ago.               As of March 24, 2016, the Control Group


beneficially owned over 86 million shares of AmTrust common stock, collectively worth over


$1.5 billion.    As such, the members of the Control Group are not considered independent


directors under the NASDAQ listing rules and all face a substantial likelihood of liability from


the misconduct alleged herein.


          209.   Thus,    the    Control   Group's    substantia]   AmTrust   stock   holdings    further


incentivized them to keep the Company's stock price as high as possible during the Relevant


Period.    As of March 23, 2016, Zyskind beneficially owned over 37 million shares of AmTrust


common stock (approximately 26.2% of the Company's outstanding shares), collectively worth


over $965 million based on the Company's stock price before the fraud was exposed.                     In


addition, Zyskind's compensation from the Company was over $22 million in 2014, $13.9


million in 2015, and $4.9 million in 2016.


          210.   As of March 23, 2016, G. Karfunkel beneficially owned over 32 million shares of


AmTrust      common      stock   (approximately   18.5%    of the    Company's   outstanding     shares),


collectively worth over $840 million based on the Company's stock price before the fraud was


exposed.


          211,   As of March 23. 2016, L. Karfunkel beneficially owned over 20 million shares of


AmTrust common stock (approximately 13% of the Company's outstanding shares), collectively


worth over $519 million based on the Company's stock price before the fraud was exposed.

          212.   Zyskind and L. Karfunkel are further intertwined, as they serve as the only two


trustees for the Karfunkel Trust. Zyskind and L. Karfunkel also jointly control over 15 million




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common shares of AmTrust stock. Zyskind and L. Karfunkel are also involved with at least 21


distinct related-party      transactions   involving    AmTrust   and   their   other affiliated    entities.


Likewise, G. Karftinkel is involved in seven related-party transactions involving AmTrust and


his own related entities.


        213.   Moreover, the Control Group maintains actual control over the Board, as


evidenced by the events leading up to L, Karfunkel's appointment. At the 2016 Annual Meeting,


shareholders voted to re-elect the Company's directors who were nominated for re-election.


However, the vacancy left by M. Karfunkel' s passing in April 2016 was not submitted to a


shareholder vote at this meeting.      Instead, on May 19, 2016, the same day as the 2016 Annual


Meeting, M. Karftinkel's widow, L. Karfunkel, was simply elected by the Board without a


shareholder vote. Thus, the Control Group is yet another manifestation of the Karftinkel family's


unfettered stronghold over the Company.

       214.    The members of the Control Group are related members of the Karfunkel family


who all face a substantial likelihood of liability from the misconduct alleged herein.             Thus, the


Control Group is beholden to each other by virtue of their close familial relationships and to the


Company by way of their massive AmTrust stock holdings.                     Because    of their lack of


independence and disinterestedness, the Control Group is incapable of impartially considering a


demand, and as a result, demand is futile.


       D.      Additional Reasons Why Demand is Futile


       215.    The Board's lack of good faith and oversight exposed the Company to other


increased risks, including (i) significant damages resulting from the Company's repurchases of


stock at prices that were artificially inflated due to Defendants' materially false or misleading


statements during the Relevant Period; (ii) loss of business; (iii) investigations by the SEC, FBI,




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and NYDFS; (iv) exposure to lawsuits, including four shareholder putative class actions


asserting federal securities claims against the Company; and (v) serious damage to the


Company's reputation and goodwill.


        216.    The Director Defendants' failure to meet their fiduciary obligations also allowed


the Insider Selling Defendants to reap unlawful profits from selling or disposing of AmTrust


shares at artificially inflated prices.   Not only did the Board approve of the illegal insider


transactions, it specifically authorized the Company's stock repurchase program to maintain the


price of the Company's stock at artificially inflated levels while insiders were selling stock.

        217.    In April 2016, the Board authorized the repurchase of $200 million AmTrust


shares despite Defendants' knowledge that the Company had engaged in unlawful accounting


practices exposing AmTrust to significant and material risks and liability. As such, Defendants


knew that the Company's stock price was already artificially inflated when it authorized the


share repurchases,    causing   AmTrust     to   overpay   for repurchases   of its   own   stock      by


approximately $104 million during the Relevant Period.


       218.    The repurchase program, accordingly, caused AmTrust to buy back stock at


inflated prices from Gulkowitz, DeCarlo, and Pipoly.          See ffl[l 67-71.   All of the Director


Defendants failed to exercise any oversight over Gulkowitz, DeCarlo, and Pipoly with respect to


their significant insider transactions.   Accordingly, a clear majority of the Board is unable to


consider a demand to investigate Plaintiffs allegations that the Defendants engaged in illegal


insider transactions of Company stock, committed other wrongdoing in violation of their


fiduciary duties, and artificially inflated the Company's stock price for their own personal gain.


The Director Defendants cannot investigate          allegations   of Defendants'   wrongdoing     in    a


disinterested and independent manner.




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        219.    In light of the foregoing facts, the Director Defendants face a substantial


likelihood of liability in this case, thus rendering demand on them futile.

IX.     CLAIMS FOR RELIEF


                                             COUNT I
                                      Breach of Fiduciary Duty
                                      (Against All Defendants)


       220.    Plaintiff incorporates by reference and realleges each of the foregoing allegations


as though fully set forth in this paragraph.


       221.    Each of the Defendants owed and owe fiduciary duties to AmTrusl and its

stockholders. By reason of their fiduciary relationships, Defendants specifically owed and owe


AmTrust the highest obligation of good faith, fair dealing, loyalty, and due care in the


administration and management of the affairs of the Company, including the Company's


financial reporting, internal controls, and compensation practices.


       222.    Each of the Defendants consciously and deliberately breached their fiduciary


duties of candor, good faith, loyalty, and reasonable inquiry to AmTrust and its stockholders in at


least the following ways:


               a)      Overseeing and endorsing management's illicit accounting practices;


               b)      Ignoring or consciously disregarding the many red flags related to the


                       accounting manipulation;


               c)      Allowing AmTrust insiders to conduct insider sales and dispositions of


                       Company stock while in the possession of material, adverse, non-public


                       information;


               d)      Approving the Company's repurchase of AmTrust shares at a time when


                       the shares were artificially inflated;




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                e)     Allowing AmTrust's financial statements to be false and misleading due to


                       the illicit accounting scheme, which also resulted in the artificial inflation


                       of the Company's share price;


               e)      Allowing for inadequate risk controls over the Company's policies and


                       practices, which allowed Company employees to fraudulently understate


                       its loss reserves, overstate its revenue and net income, and misrepresent its


                       loss reserve practices and financial results; and


               f)      Engaging in abuse of control and gross mismanagement of AmTrust's


                       assets and business through a failure to prevent the illicit accounting


                       scheme.


       223.    Defendants, individually and in concert, engaged in the above referenced conduct


in intentional, reckless, or grossly negligent breaches of the fiduciary duties they owed to


AmTrust to protect its rights and interests.


       224.    In breach of their fiduciary duties owed to AmTrust, Defendants willfully


participated in misrepresentations related to the Company's accounting practices, risk controls,


and internal and disclosure controls, failed to correct the Company's public statements, and


failed to fully inform themselves prior to making decisions as directors and officers, rendering


them personally liable to the Company for breaching their fiduciary duties.


       225.    Defendants had actual or constructive knowledge that they had caused the


Company to improperly misrepresent its financial condition and they failed to correct the


Company's public statements.       Defendants had actual knowledge of the misstatements and


omissions of material facts set forth in this Complaint, or acted with reckless disregard for the


truth, in that they failed to ascertain and to disclose such facts, even though such facts were




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available to them.   Such material misrepresentations and omissions were committed knowingly


or recklessly and for the purpose and effect of artificially inflating the price of AmTrusf s


securities.


        226.    These actions were not a good-faith exercise of prudent business judgment to


protect and promote the Company's corporate interests.


        227.    Additionally,   Defendants   have     specific   fiduciary   duties   as   defined   by   the


Company's corporate governance documents, including the Code of Conduct and the charters of


various Board committees that, had they been discharged in accordance with Defendants'


obligations, would have necessarily prevented the misconduct and the consequent harm to the


Company alleged in this Complaint.


        228.    Defendants conspired to abuse, and did abuse, the control vested in them by virtue


of their positions in the Company.


        229.   Accordingly, to the extent AmTrust's exculpatory provision applies to                      the


Director Defendants' acts or omissions while acting in their capacity as directors, it cannot


immunize them from (i) any non-monetary liability, (ii) monetary liability for their breaches of


the duty of loyalty, (iii) monetary liability for acts or omissions not in good faith or that involved

intentional misconduct or a knowing violation of law, or (iv) monetary liability in connection


with any transaction from which they derived an improper personal benefit. As detailed in this


Complaint, the Director Defendants' misconduct with respect to the illicit accounting scheme (i)


involved breaches of their duty of loyalty; (ii) involved acts or omissions not in good faith or that


involved intentional misconduct or a knowing violation of law; and (iii) at least with respect to


the Insider Selling Defendants, occurred in connection with a transaction from which those


Defendants derived improper personal benefits.          AmTrust's exculpatory provision therefore




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cannot immunize the Director Defendants from liability for that misconduct.           Additionally,


Zyskind and Pipoly are not entitled to claim any immunity under Section 102(b)(7) to the extent


this claim is asserted against them in their capacity as officers of the Company.


        230.    Defendants' actions as detailed in this Complaint were not a good-faith exercise


of prudent business judgment to protect and promote the Company's corporate interests.


        231.    As a direct and proximate result of Defendants' breaches of their fiduciary


obligations, AmTrust has sustained and continues to sustain significant damages. As a result of


the misconduct alleged in this Complaint, Defendants are liable to the Company.


                                           COUNT II
                                       Unjust Enrichment
                                     (Against All Defendants)


        232.    Plaintiff incorporates by reference and realleges each of the foregoing allegations


as though fully set forth in this paragraph.


        233.    During the Relevant Period, Defendants received bonuses, stock options, stock, or


similar compensation from AmTrust that was tied to the Company's financial performance, or


otherwise received compensation that was unjust in light of Defendants' bad faith conduct,


violation of the Company's code of ethics, and self-dealing.


        234.    Plaintiff, as a shareholder and representative of AmTrust, seeks restitution from


Defendants and     seeks an order of this Court      disgorging all profits,   benefits, and other


compensation—including any salary, options, performance-based compensation, and stock—


obtained by Defendants due to their wrongful conduct alleged in this Complaint.

                                        COUNT III
     Breach of Fiduciary Duty for Insider Selling and Misappropriation of Information
                         (Against the Insider Selling Defendants)


       235.    Plaintiff incorporates by reference and realleges each of the foregoing allegations

as though fully set forth in this paragraph.




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        236.     At the time of the stock sales set forth in fl!67-71 above, the Insider Selling


Defendants—Pipoly, Gulkowitz, and DeCarlo —knew or recklessly disregarded the information


described in this Complaint regarding the illicit accounting scheme and sold AmTrust common


stock on the basis of that information.


        237.     The   information   described   above   was   proprietary   non-public   information


concerning the Company's unlawful conduct associated with its accounting.            The information


was a proprietary asset belonging to the Company, which the Insider Selling Defendants used for


their own benefit when they sold AmTrust common stock.


        238.    The Insider Selling Defendants' sales of AmTrust common stock while in


possession and control of this material adverse non-public information was a breach of their


fiduciary duties of loyalty and good faith.

        239.    Because the use of the Company's proprietary information for their own gain


constitutes a breach of the Insider Selling Defendants' fiduciary duties, the Company is entitled


to the imposition of a constructive trust on any profits the Insider Selling Defendants obtained


thereby.


                                           COUNT IV
               Violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9
                                (Against the Director Defendants)

       240.     Plaintiff incorporates by reference and realleges each and every allegation


contained above, as though fully set forth in this paragraph, except to the extent those allegations


plead knowing or reckless conduct by the Director Defendants.         This claim is based solely on


negligence, not on any allegation of reckless or knowing conduct by or on behalf of the Director


Defendants. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

or reference to any allegation of fraud, scienter, or recklessness with regard to this claim.




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       241.      SEC Rule 14a-9 (17 C.F.R. § 240.14a-9), promulgated under Section 14(a) of the


Exchange Act, provides:


       No solicitation subject to this regulation shall be made by means of any proxy
       statement form of proxy, notice of meeting or other communication, written or
       oral, containing any statement which, at the time and in the light of the
       circumstances under which it is made, is false or misleading with respect to any
       material fact, or which omits to state any material fact necessary in order to make
       the statements therein not false or misleading or necessary to correct any
       statement in any earlier communication with respect to the solicitation of a proxy
       for the same meeting or subject matter which has become false or misleading.


       242.      The Director Defendants negligently issued, caused to be issued, and participated


in the issuance of materially misleading written statements to stockholders that were contained in


the 2015 and 2016 Proxy Statements. The 2015 and 2016 Proxy Statements contained proposals


to AmTrust's stockholders urging them to re-elect the members of the Board and approve


executive compensation. The Proxy Statements, however, misstated or failed to disclose that: (1)


AmTrust had ineffective assessment of the risks associated with its financial reporting; (2) the


Company had an insufficient complement of corporate accounting and corporate financial


reporting    resources   within    the organization; (3)        in turn,    the   Company   lacked   effective


internal controls    over    financial    reporting;        (4) the Company maintained inadequate loss


reserves; and (5) AmTrust enhanced earnings by ceding insurance losses to its subsidiaries. By


reasons of the conduct alleged in this Complaint, the Director Defendants violated Section 14(a)


of the Exchange Act and SEC Rule 14a-9.             As a direct and proximate result of the Director

Defendants' wrongful conduct, AmTrust misled or deceived its stockholders by making


misleading    statements    that   were   an   essential      link   in   stockholders   heeding   AmTrust's


recommendation to re-elect the current Board and approve certain executive compensation.


       243.     The misleading information contained in the 2015 and 2016 Proxy Statements


was material to AmTrust's stockholders in determining whether or not to elect the Director




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Defendants and approve certain executive compensation. This information was also material to


the integrity of the directors that were proposed for election to the Board. The proxy-solicitation


process in connection with the Proxy Statements was an essential link in (i) the re-election of


nominees to the Board and (ii) the approval of the executive compensation plan.


        244.   Plaintiff, on behalf of AmTrust, thereby seeks relief for damages inflicted upon


the Company based on the misleading 2015 and 2016 Proxy Statements in connection with the


improper re-election of the members of the Board and approval of executive compensation.


       245.    This action was timely commenced within three years of the date of each Proxy


Statement and within one year from the time Plaintiff discovered or reasonably could have


discovered the facts on which this claim is based.


                                            COUNT V
                        Violations of Section 10(b) of the Exchange Act
                         and SEC Rule 10b-5 Promulgated Thereunder
                                     (Against AH Defendants)


       246.    Plaintiff repeats and realleges each and every allegation contained above as if


fully set forth herein. This claim is asserted against all Defendants.


       247.    During the Relevant Period, in connection with AmTrust' s repurchases            of


AmTrust shares, Defendants disseminated or approved false or misleading statements about


AmTrust, which they knew or recklessly disregarded were false or misleading and were intended


to deceive, manipulate, or defraud. Those false or misleading statements and Defendants' course


of conduct were designed to artificially inflate the price of the Company's common stock.


       248.    At the same time that the price of the Company's common stock was inflated due


to the false or misleading statements made by Defendants, Defendants caused the Company to


repurchase millions of shares of its own common stock at prices that were artificially inflated


due to Defendants' false or misleading statements.     Defendants engaged in a scheme to defraud




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AmTrust by causing the Company to purchase at least $227 million in shares of AmTrust stock


at artificially inflated prices.


        249.     Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 in


that they (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of


material facts or omitted to state material facts necessary in order to make the statements made,


in light of the circumstances under which they were made, not misleading; and/or (c) engaged in


acts, practices, and a course of business that operated as a fraud or deceit upon AmTrust in


connection with the Company's purchases of AmTrust stock during the Relevant Period.


        250.    Defendants, individually and in concert, directly and indirectly, by the use of


means or instrumentalities of interstate commerce or of the mails, engaged and participated in a


continuous course of conduct that operated as a fraud and deceit upon the Company; made


various false or misleading statements of material facts and omitted to state material facts


necessary in order to make the statements made, in light of the circumstances under which they


were made, not misleading; made the above statements intentionally or with a severely reckless


disregard for the truth; and employed devices and artifices to defraud in connection with the


purchase and sale of AmTrust stock, which were intended to, and did, (a) deceive AmTrust


regarding, among other things, its accounting practices, the Company's internal controls and


compensation practices, and the Company's financial statements; (b) artificially inflate and


maintain the market price of AmTrust stock; and (c) cause AmTrust to purchase the Company's


stock at artificially inflated prices and suffer losses when the true facts became known.


Throughout the Relevant Period, Defendants were in possession of material, adverse non-public


information regarding the illicit accounting scheme.




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        251.    Defendants   were among the        senior management       and   the   directors of the


Company, and were therefore directly responsible for, and are liable for, all materially false or


misleading statements made during the Relevant Period, as alleged above.


        252.   As described above, Defendants acted with scienter throughout the Relevant


Period, in that they acted either with intent to deceive, manipulate, or defraud, or with severe


recklessness. The misstatements and omissions of material facts set forth in this Complaint were


either known to Defendants or were so obvious that Defendants should have been aware of them.


Throughout the Relevant Period, Defendants also had a duty to disclose new information that


came to their attention and rendered their prior statements to the market materially false or


misleading.


        253.   Defendants'    false   or   misleading   statements   and   omissions    were made    in


connection with the purchase or sale of the Company's stock, both by the Company itself and by


the Insider Selling Defendants.


       254,    As a result of Defendants' misconduct, AmTrust has and will suffer damages in


that it paid artificially inflated prices for AmTrust common stock purchased as part of the


repurchase program and suffered losses when the previously undisclosed facts relating to the


illicit accounting scheme were disclosed beginning in February 2017. AmTrust would not have


purchased these securities at the prices it paid, or at all, but for the artificial inflation in the


Company's stock price caused by Defendants' false or misleading statements.


       255.    As a direct and proximate result of Defendants' wrongful conduct, the Company


suffered damages in connection with its purchases of AmTrust stock during the Relevant Period.


By reason of such conduct, Defendants are liable to the Company pursuant to Section 10(b) of


the Exchange Act and SEC Rule 10b-5.




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        256.    Plaintiff brought this claim within two years of its discovery of the facts


constituting the violation and within five years of the violation.


                                           COUNT VI
                          Violation of Section 20A of the Exchange Act
                            (Against the Insider Selling Defendants)

        257.    Plaintiff repeats and realleges each and every allegation contained above as if


fully set forth herein.


        258.    The Insider Selling Defendants, by reason of their relationship with the Company


as officers and directors of the Company, had access, directly or indirectly, to material


information about the Company not available to the public.


        259.    The Insider Selling Defendants knowingly traded on this material, non-public


information about the Company.


        260.    The Insider Selling Defendants sold AmTrust securities with actual knowledge


that the value of these securities was inflated as a result of Defendants' false and misleading


statements and other fraudulent activities detailed in this Complaint.


       261.     As part of AmTrust's publicly disclosed share repurchase program, the Company


purchased over 8 million shares of its common stock throughout the Relevant Period. AmTrust


was a contemporaneous purchaser of AmTrust securities, pursuant to Section 20A of the


Exchange Act, when the Insider Selling Defendants sold AmTrust securities, as set forth above.


       262.     As a contemporaneous purchaser, AmTrust was damaged by the actions of the


Insider Selling Defendants, as alleged in this Complaint, in that (i) in reliance on the integrity of


the market, the Company paid artificially inflated prices as a result of the violations of Section


10(b) of the Exchange Act and SEC Rule 10b-5; and (ii) the Company would not have purchased


the securities at the prices it paid, or at all, had it been aware that the market prices had been


artificially inflated by Defendants' false or misleading statements. At the time of the purchase of



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the securities by the Company, the fair and true market value of the securities was substantially

less than the price paid by the Company


                                              COUNT VII
                            Violations of Section 29(b) of the Exchange Act
                                       (Against All Defendants)


        263.        Plaintiff incorporates by reference and realleges each and     every allegation


contained above, as though fully set forth in this paragraph.


        264.        As a result of their conduct, as alleged in this Complaint, Defendants violated


Sections 10(b) and 14(a) of the Exchange Act during the time they entered into contracts with


AmTrust regarding their compensation.


        265.    AmTrust has a compensation clawback policy that allows the Company to claw


back compensation in certain circumstances.


        266.    If AmTrust attempts to claw back compensation to Defendants, Defendants might


assert a breach of contract claim.


        267.    Section 29(b) of the Exchange Act provides equitable remedies that include,


among other things, provisions allowing for the voiding of contracts where the performance of


the contract involved violation of any provision of the Exchange Act.


        268.    Defendants violated provisions of the Exchange Act while performing their duties


arising under various employment and other contracts they entered into with AmTrust,


        269.    AmTrust was and is an innocent party with respect to Defendants' Exchange Act


violations.


        270.    Plaintiff, on behalf of AmTrust,       seeks rescission of the contracts between


Defendants and AmTrust due to Defendants' violations of the Exchange Act while performing


their job duties.




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        271.     Even if the contracts are not rescinded by the Court as a result of Defendants'


Exchange Act violations, the Court can and should award equitable remedies in the form of


injunctive relief barring Defendants from asserting breach of contract by AmTrust in any action


by Plaintiff on behalf of AmTrust to claw back compensation from Defendants.


        272.     Plaintiff seeks only declaratory, injunctive, and equitable relief in this claim.


                                             COUNT VIII
                                          Corporate Waste
                                  (Against the Director Defendants)

        273.     Plaintiff incorporates by reference and realleges each of the foregoing allegations


as though fully set forth in this paragraph.


        274.     The Director Defendants have a fiduciary duty to protect AmTrust' s assets from


loss or waste.


        275.     By approving the stock repurchase program, the Director Defendants breached


this fiduciary duty and have caused AmTrust to waste its corporate assets on the repurchase of


stock at artificially inflated prices.


        276.     As a result of the Director Defendants' corporate waste, the Company has


suffered damages.


                                               COUNT IX
                                  Contribution and Indemnification
                                  (Against the Officer Defendants)


        277.     Plaintiff incorporates by reference and realleges each of the foregoing allegations


as though hilly set forth in this paragraph.


        278.     This claim is brought derivatively on behalf of the Company against Defendants


Zyskind and Pipoly for contribution and indemnification.


        279.     AmTrust is named as a defendant in four putative shareholder class actions


asserting claims under the federal securities laws for, inter alia, issuing false and misleading




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statements related to its accounting practices and the Company's financial reporting.13           In the

event the Company is found liable for violating the federal securities laws, the Company's


liability will arise, in whole or in part, from the intentional, knowing, or reckless acts or

omissions of some or all of the Defendants as alleged herein. The Company is entitled to receive


contribution from those Defendants in connection with the securities fraud class actions pending


against the Company.


       280.    Accordingly,        AmTrust   is   entitled    to   all   appropriate   contribution    or


indemnification from Defendants.


X.     PRAYER FOR RELIEF


       WHEREFORE, Plaintiff demands for a judgment as follows:


           A. Determination that this action is a proper derivative action maintainable under the


               law and that demand was excused as futile;


           B. Declaring that Defendants have breached their fiduciary duties to AmTrust;


           C. Determining and awarding to AmTrust the damages sustained by it as a result of


               the violations set forth above from each Defendant, jointly and severally, together


               with prejudgment and post-judgment interest thereon;


           D. Directing AmTrust to take all necessary actions to reform and improve its


               corporate governance and internal procedures to comply with applicable laws and


               to protect the Company and its stockholders from a repeat of the damaging events


               described in this Complaint, including putting forward for a stockholder vote


               resolutions   for    amendments     to   the   Company's      by-laws   or   articles   of




13 The first putative class action was filed on February 28, 2017 in the U.S. District Court for the
Central District of California. Three additional putative class actions were filed in the Southern
District of New York.



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            incorporation, and taking such other actions as may be necessary to place before


            stockholders for a vote the following corporate governance policies:


                1.   a proposal to strengthen Board oversight and supervision of AmTrust's


                     financial reporting procedures;


                2.   a proposal to strengthen the Company's disclosure controls to ensure


                     material information is adequately and timely disclosed to the SEC and the


                     public;


                3.   a proposal to ensure that all Board members take appropriate action to rid


                     the Company of its lawless culture; and


                4.   a proposal to strengthen the Board's supervision of operations and develop


                     and implement procedures for greater stockholder input into the policies


                     and guidelines of the Board.


       E.   Extraordinary equitable or injunctive relief as permitted by law or equity,


            including attaching, impounding, imposing a constructive trust on, or otherwise


            restricting Defendants' assets so as to assure that Plaintiff, on behalf of AmTrust,


            has an effective remedy;


       F.   Awarding to AmTrust restitution from Defendants, and each of them, and


            ordering disgorgement of all profits, benefits, and other compensation obtained by

            Defendants, including the proceeds of insider transactions made in violation of


            federal and state securities laws;


       G. Ordering an accounting of all compensation awarded to the Officer Defendants


            during the Relevant Period;




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         H. Increasing the size of AmTrust's Board of Directors and reconstituting the Audit


              Committee;


         I.   Canceling the votes to re-elect the Director Defendants in connection with the


              annual shareholder meetings in 2015 and 2016, and ordering Defendants to


              disgorge to the Company all compensation they received for service on the Board


              following those invalid elections;


        J.    Awarding to Plaintiff costs and disbursements related to this action, including


              reasonable attorneys' fees, consultant and expert fees, costs, and expenses; and


        K. Granting such other and further relief as the Court deems just and proper.


XL   JURY TRIAL DEMANDED


     Plaintiff hereby demands a trial by jury.

DATED: May 11,2017                          Respectfully Submitted,

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